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Co-Counsel to Mohsin Y. Meghji, Litigation Administrator, as Representative for the Post-
Effective Date Debtors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                               §
In re:                                         §
                                               §
CELSIUS CUSTOMER PREFERENCE                    §        Adv. Proc. No. 24-04024 (MG)
ACTIONS.                                       §
                                               §
                                               §

                NOTICE OF CREATION OF CONSOLIDATED DOCKET
                 FOR CELSIUS CUSTOMER PREFERENCE ACTIONS

          PLEASE TAKE NOTICE that, in July 2024, Mohsin Y. Meghji, as Litigation

Administrator (the “Litigation Administrator”) for Celsius Network LLC and its affiliated post-
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effective date debtors (the “Debtors”), commenced litigation against certain customers of the

Debtors who withdrew assets during the 90 days before the Debtors’ bankruptcy filing (the

“Customer Preference Actions”).

         PLEASE TAKE FURTHER NOTICE that on August 27, 2024, a hearing was held

before the United States Bankruptcy Court for the Southern District of New York (the

“Bankruptcy Court”), during which the Bankruptcy Court instructed the Litigation Administrator

to create a consolidated docket for filings relating generally to the Customer Preference Actions.1

         PLEASE TAKE FURTHER NOTICE that on September 6, 2024, pursuant to the

Bankruptcy Court’s instruction, a consolidated docket was created for the Customer Preference

Actions (the “Consolidated Docket”). The Customer Preference Actions that are part of the

Consolidated Docket are listed on Exhibit A to this notice.

         PLEASE TAKE FURTHER NOTICE that the Consolidated Docket is styled In re

Celsius Customer Preference Actions and the case number for the Consolidated Docket is Adv.

Proc. No. 24-04024.

         PLEASE TAKE FURTHER NOTICE that all filings on the Consolidated Docket must

use the following case caption:


                                                 §
In re:                                           §
                                                 §
CELSIUS CUSTOMER PREFERENCE                      §         Adv. Proc. No. 24-04024 (MG)
ACTIONS.                                         §
                                                 §
                                                 §




1
     See Aug. 27, 2024 Hr’g Tr. at 88:8-89:14.

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          PLEASE TAKE FURTHER NOTICE that all filings relating generally to the

Customer Preference Actions and/or involving two or more Customer Preference Actions must be

filed on the Consolidated Docket. By contrast, filings relating to only one specific Customer

Preference Action, such as a response to the complaint filed in the specific Customer Preference

Action, should be filed only on the docket for that specific Customer Preference Action. If a filing

is made in both the Consolidated Docket and the docket of a specific Customer Preference Action,

it must contain both the case caption of the Consolidated Docket and the individual case caption

for the specific Customer Preference Action.

       PLEASE TAKE FURTHER NOTICE that documents filed on the Consolidated Docket

can be accessed free of charge at https://cases.stretto.com/Celsius/court-docket/court-docket-

category/2341-celsius-customer-preference-actions-consolidated-docket/                           or

https://cases.stretto.com/CelsiusLOC/court-docket/court-docket-category/2342-celsius-customer-

preference-actions-consolidated-docket/.



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Dated: September 9, 2024
       New York, New York

                                   By: Samuel P. Hershey

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                                   Devin Rivero (admitted pro hac vice)
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                                       4
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                                           kcasteel@askllp.com

                                  Co-Counsel to Mohsin Y. Meghji,
                                  Litigation Administrator, as
                                  Representative for the Post-Effective
                                  Date Debtor




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                                      Exhibit A
                      List of Celsius Customer Preference Actions
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                                                                  Adv. Case
   Defendant Name                                                 No.
   A & JC Investment Properties LLC                               24-01505
   AARON BRANDON COY                                              24-01506
   AARON CHAPMAN BENTON                                           24-01507
   AARON GILMORE SMITH                                            24-01508
   AARON JACOB MILES                                              24-01509
   AARON KANE WILLIAMSON                                          24-01510
   AARON MICHAEL BLOCH                                            24-01511
   AARON RANDALL SCHNIEDER                                        24-01512
   AARON ROBERT SCHREMS                                           24-01513
   AMY ELIZABETH ROLL                                             24-01514
   ABDELKADER MHAMED BENKREIRA                                    24-01515
   ABDUL HANNAN                                                   24-01516
   Adam Castle Waltz                                              24-01517
   ADAM GROULX                                                    24-01518
   ADAM JOSEPH COOK                                               24-01519
   AMY MICHELLE YIN                                               24-01520
   ANDERS TORGERSON                                               24-01521
   ADAM KARNOW CHEFITZ                                            24-01522
   ANDRE GABRIEL PINHEIRO                                         24-01523
   ADAM MATTHEW DE WITT                                           24-01524
   ANDREAS YIAKOUMATOS                                            24-01525
   ADAM PAZ                                                       24-01526
   Andres Ramirez                                                 24-01527
   ANDRES ZALGUIZURI                                              24-01528
   AHARON YOJANAN KING                                            24-01529
   ANDREW BERESFORD LONG                                          24-01530
   AJU THALAPPILLILSCARIA                                         24-01531
   ANDREW ELLIS CHAPMAN                                           24-01532
   ANDREW HENRY MCINNES                                           24-01533
   ANDREW MARK VALENSON                                           24-01534
   ANDREW MILLER DENTON                                           24-01535
   ANDREW T BARHORST                                              24-01536
   ANDREW W PATZERT                                               24-01537
   ANDREW WILLIAM HALE                                            24-01538
   ANDREW ZIQI WANG                                               24-01539
   ANDREY VOLOSEVICH                                              24-01540
   ANGELINA JUSTINE BLASS                                         24-01541
   ANNE JODI RASKIN                                               24-01542
   ANTHONY EDWARD MANNARINO                                       24-01543
   ANTHONY FRANK VENDITTI                                         24-01544
   ANTHONY LEE ALCALA                                             24-01545
   ANTHONY MATTHEW TANG III                                       24-01546

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                                                                  Adv. Case
   Defendant Name                                                 No.
   Anthony Michael Mingone                                        24-01547
   ANTON I RASSADKIN                                              24-01548
   ARAVIND RAJU                                                   24-01549
   ARAVIND SUGUMAR                                                24-01550
   ARIEL JOSHUA FEINMAN                                           24-01551
   ARIO HOSSEIN HOSSEINI                                          24-01552
   ARLEN ROYCE CHILDRESS                                          24-01553
   ALAN GERALD AUSTIN                                             24-01554
   Armond noshadeyan                                              24-01555
   ARNOLD CHIUTSUN TSANG                                          24-01556
   ALBERT CATDUC VUONG                                            24-01557
   Arthur J Reynolds                                              24-01558
   ALBERT CHRISTOPHER ORTEGA                                      24-01559
   Artur Schaback                                                 24-01560
   ARUNAVA SAHA                                                   24-01561
   ALBERT YU                                                      24-01562
   ASHISH SINGHAL                                                 24-01563
   ALEX FLOCAS                                                    24-01564
   ASHWIN VISHAL KAMATH                                           24-01565
   Atanasios Edvard Engesaeth                                     24-01566
   ALEX MICHAEL RIGGIO                                            24-01567
   AUSTIN LEE BARNHILL                                            24-01568
   AUSTIN MICHAEL CRAIG                                           24-01569
   Alex Robles                                                    24-01570
   Austin Robertson                                               24-01571
   ALEXANDER DONGYEOB SHIN                                        24-01572
   AVETIK TONOYAN                                                 24-01573
   BACH LE PHAM                                                   24-01574
   ALEXANDER EDWARD GINNO                                         24-01575
   BALAMURALI NATARAJAN                                           24-01576
   ALEXANDER HERTZBERG                                            24-01577
   BARRY DAVID BURRIS                                             24-01578
   BASEM M JASSIN                                                 24-01579
   ALEXANDER JOHN BANKS                                           24-01580
   BEHRANG SADEGHI                                                24-01581
   ALEXANDER JOHN KRUSZ                                           24-01582
   BEN MIN CHU                                                    24-01583
   ALEXANDER JOSEPH ROBIN                                         24-01584
   ALEXANDER MICHAEL HEISHMAN                                     24-01585
   ALEXANDER MICHAEL LERNER                                       24-01586
   ALEXANDER THYGESEN HAGERUP                                     24-01587
   ALICE SUN CHEN                                                 24-01588


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                                                                            Adv. Case
   Defendant Name                                                           No.
   ALINE THUY LE                                                            24-01589
   ALLAN MATANGUIHAN NUNEZ                                                  24-01590
   ALLEN AARON PYON                                                         24-01591
   ALLEN GEOFFREY JONES                                                     24-01592
   ALLEN KNOLL                                                              24-01593
   ALLISTER JAN WAI LAM                                                     24-01594
   Alven Jerome Kroot Agreement of Trust Dated July 16, 1990, as Amended    24-01595
   AMAN ROY                                                                 24-01596
   AMIR HOSSEIN SAGHARI                                                     24-01597
   AMIR HOSSIENDOUST                                                        24-01598
   Ben Plesser                                                              24-01599
   Benjamin Adam Huguenin                                                   24-01600
   BENJAMIN JOSEPH CLINE                                                    24-01601
   BENJAMIN JULIAN DAME                                                     24-01602
   BENJAMIN LEE WERKMAN                                                     24-01603
   BENJAMIN MARK JADERSTROM                                                 24-01604
   BXC Trust                                                                24-01605
   CAESAR MUNIR WILSON                                                      24-01606
   CALVIN SPENCER RAWE                                                      24-01607
   Cameron Barnhart                                                         24-01608
   CAMERON TYLER RING                                                       24-01609
   CANG DUY LY                                                              24-01610
   CARL INSERRA JR                                                          24-01611
   CARL ROBERT STRATTON                                                     24-01612
   CARLOS FABIAN RIVERA COLON                                               24-01613
   CARLOS JOSE CUERVO ARANGO                                                24-01614
   CAROLINE DE POSADA-RODRIGUEZ                                             24-01615
   CASEY R PELLETIER                                                        24-01616
   CASPAR LUNG YEN                                                          24-01617
   BENJAMIN MICHAEL KEILEY                                                  24-01618
   CHAD EARL CHRISTOFFER                                                    24-01619
   BENJAMIN SAUL FEINSTEIN                                                  24-01620
   BERNARD STEVEN ROSSMAN                                                   24-01621
   CHAD EDWARD SHADEL                                                       24-01622
   Bharat Shashidharamurthy Yadav                                           24-01623
   CHAD MICHAEL ENGAN                                                       24-01624
   Bijan Shapouri                                                           24-01625
   Chamfer LLC                                                              24-01626
   BILL HUYNH                                                               24-01627
   CHANDRASEKAR JAGADEESWARAIAH                                             24-01628
   Billeaud Consulting LLC                                                  24-01629
   CHARAN TEJA APPAM                                                        24-01630


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                                                                  Adv. Case
   Defendant Name                                                 No.
   BIN XIE                                                        24-01631
   CHARLES C WISWALL                                              24-01632
   BING JI SITU                                                   24-01633
   CHARLES FRANKLIN THOMASHOWER                                   24-01634
   BLAKE MULLER                                                   24-01635
   BOBBY GEORGE RAPPAI                                            24-01636
   CHARLES KAIYUAN ZHANG                                          24-01637
   BRADFORD CAMERON RATCLIFFE                                     24-01638
   Charles Manlapig Rada                                          24-01639
   BRADFORD RANDALL HARTZELL                                      24-01640
   CHARLES MICHAEL ATKIN                                          24-01641
   BRADFORD SCOTT SHORR                                           24-01642
   BRADLEY AUSTIN DOSTER                                          24-01643
   BRADLEY DAVID TAMMEN                                           24-01644
   BRADLEY HOWARD STANBROUGH                                      24-01645
   BRANDEN HARRISON SANDERS                                       24-01646
   BRANDON MCQUILKIN                                              24-01647
   BRANDON P PATTERSON                                            24-01648
   CHLOE WON LOOK                                                 24-01649
   BRANDON REECE LESTER                                           24-01650
   Chomp Capital Fund I LP                                        24-01651
   Brendan Brogan                                                 24-01652
   BRENDAN THOMAS ANTHONY                                         24-01653
   Chomp, Swamp, & Sweat LLC                                      24-01654
   BRENDEN RAYMOND YEE                                            24-01655
   Chris Zheng                                                    24-01656
   BRENT ROBERT VERWEY                                            24-01657
   CHRISTIAN ERIC ECKHARDT                                        24-01658
   BRETT J KALINA                                                 24-01659
   BRETT JOSEPH CHAUVIERE                                         24-01660
   CHRISTIAN JAMES CARRIGG                                        24-01661
   BRETT MCKENZIE WINTON                                          24-01662
   CHRISTINA YEEKA WENG                                           24-01663
   BRIAN CHIYAN HO                                                24-01664
   CHRISTOPHER A BOUSTANY                                         24-01665
   BRIAN J VIOLETTE                                               24-01666
   CHRISTOPHER ADAM SULLY                                         24-01667
   BRIAN JOSEPH MCKEON                                            24-01668
   CHRISTOPHER ALLEN MOSER                                        24-01669
   BRIAN JOSEPH TROJANOWSKI                                       24-01670
   CHRISTOPHER ANDREW BERRIDGE                                    24-01671
   Brian Kent Birge III                                           24-01672


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                                                                  Adv. Case
   Defendant Name                                                 No.
   BRIAN MICHAEL HEIMERDINGER                                     24-01673
   Brian Randolph DeJarnett                                       24-01674
   CHRISTOPHER ANDREW LOSACCO                                     24-01675
   CHRISTOPHER ANTHONY MARZILLI                                   24-01676
   Brian Robert Tunning                                           24-01677
   BRIANA M KIM                                                   24-01678
   CHRISTOPHER BRIAN ABATE                                        24-01679
   Broe Family Dental LLC                                         24-01680
   CHRISTOPHER DAMIAN THOMPSON                                    24-01681
   BROOKE OLSEN BENTON                                            24-01682
   CHRISTOPHER DAVID BOIVIN                                       24-01683
   BRYAN DOUGLAS WALKER                                           24-01684
   CHRISTOPHER DONALD MCCULLOUGH                                  24-01685
   BRYANT KAUNG SUNG KIM                                          24-01686
   CHRISTOPHER GUY STEVENS                                        24-01687
   BRYCE HIROKI HARA                                              24-01688
   CHRISTOPHER JAMES MENG                                         24-01689
   BXC 2021 Dynasty LLC                                           24-01690
   CHRISTOPHER JOSEPH CURTIN                                      24-01691
   CHRISTOPHER KYLE LEPENSKY                                      24-01692
   Christopher Leigh O'Brien                                      24-01693
   CHRISTOPHER M MARTELLA                                         24-01694
   CHRISTOPHER M MOSER                                            24-01695
   JOSHUA VERNE BANKS                                             24-01696
   JOHN CHINNICK ROOT                                             24-01697
   JOHN DAVID BYRNE                                               24-01698
   JOHN DOUGLAS MERRITT                                           24-01699
   JOHN FREDERICK ROBERTS                                         24-01700
   JOHN J MYLAN                                                   24-01701
   Joshua William Van Schepen                                     24-01702
   JOHN JOSEPH DILLON                                             24-01703
   JOHN JOSEPH SLACK                                              24-01704
   JUAN ARCINIEGAS                                                24-01705
   JUAN CARLOS GARCIA                                             24-01706
   JUAN CARLOS MEJIAS FERREIRA                                    24-01707
   JULIAN HOLLEY SHEPHERD                                         24-01709
   JULIE BROOKE PEARNE                                            24-01710
   JUSTIN ANTHONY DORY                                            24-01711
   JUSTIN DAVID ROSE                                              24-01712
   JUSTIN STEPH HUGHES                                            24-01713
   JUSTIN TODD WELZIEN                                            24-01714
   JUSTIN TYLER IRELAND                                           24-01715


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                                                                  Adv. Case
   Defendant Name                                                 No.
   JUSTIN WISE GOURLEY                                            24-01716
   JOHN LAWRENCE SILKEY                                           24-01717
   JOHN MATTHEW GILLEN                                            24-01718
   KARAN DEVRAJ CHITNIS                                           24-01719
   JOHN MICHAEL GOTO                                              24-01720
   KARL BERTA                                                     24-01721
   JOHN PANG                                                      24-01722
   KATHERINE S NGAIPESIC                                          24-01723
   KATHLEEN ANNE WRIGHT                                           24-01724
   JOHN PAUL KLABOE                                               24-01725
   KAVON C YARAGHI                                                24-01726
   JOHN ROBERT FEENEY                                             24-01727
   KAYLA ALYSSA DEE                                               24-01728
   KEENAN ANDREW AARON                                            24-01729
   JOHN TIMOTHY CRESTO                                            24-01730
   KENNETH B KEBBEKUS                                             24-01731
   JOI MARIE SHILLING                                             24-01732
   KENNETH EDWIN PAYNE                                            24-01733
   Jon Edward Collard                                             24-01734
   KENNETH J. MAZER and WENDY A. MAZER Revocable Living Trust     24-01735
   JONATHAN B ANDERSON                                            24-01736
   KENNETH JON ERNST                                              24-01737
   JONATHAN FREDERICK NYKVIST                                     24-01738
   KENNETH MATTHEW FORBESS                                        24-01739
   Jonathan Humphrey                                              24-01740
   KENNETH TYREESE LIVINGSTON                                     24-01741
   JONATHAN I-HSIN WANG                                           24-01742
   KERN WESLEY EGAN                                               24-01743
   KERRI BEARDEN CAPPS                                            24-01744
   Jonathan Parker                                                24-01745
   Keve Family Limited Partnership                                24-01746
   KEVIN ALAN COMER                                               24-01747
   JONATHAN RODRIGUEZ                                             24-01748
   KEVIN ALAN WHITE                                               24-01749
   JONATHAN S SPANGLER                                            24-01750
   JOONMO LEE                                                     24-01751
   JORDAN DALE MILLER                                             24-01752
   JORDAN JOSEPH GOLSON                                           24-01753
   KEVIN EUGENE CALDERON                                          24-01754
   JORDAN KING WILLIAMS                                           24-01755
   KEVIN LEE VERGHO                                               24-01756
   JOSE MANUEL TOLEDO NOVALES                                     24-01757


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                                                                  Adv. Case
   Defendant Name                                                 No.
   KEVIN P SHEEHAN                                                24-01758
   KEVIN PATRICK CHAUSSEE                                         24-01759
   JOSEF TATE RAINER                                              24-01760
   Kevin Turner                                                   24-01761
   JOSEPH ABRAHAM KURIAN                                          24-01762
   KEVIN VINCENT WEIDEMANN                                        24-01763
   JOSEPH ALAN LA MONTE                                           24-01764
   Ki Eun Pyo                                                     24-01765
   JOSEPH B LIVELY                                                24-01766
   KIET TRAN                                                      24-01767
   JOSEPH DANIEL HESS                                             24-01768
   KIM JOHNSON MAHONEY                                            24-01769
   KIMBERLY HOWARD GORDON                                         24-01770
   Joseph Elias Ragisoa                                           24-01771
   Joseph Harold Gordon                                           24-01772
   KIPCHOGE IVAN CODY SPENCER                                     24-01773
   JOSEPH JOHN SKERNESS                                           24-01774
   KRISLI DIMO                                                    24-01775
   KUAN KEVIN GAO                                                 24-01776
   JOSEPH LOUIS BORMOLINI                                         24-01777
   KYLE ALEXANDER DOOHAN                                          24-01778
   JOSEPH MATTHEW WOOD                                            24-01779
   KYLE ANDERSON TURNER                                           24-01780
   JOSEPH NHUT QUANG PHAM                                         24-01781
   KYLE DAVID POTTER                                              24-01782
   KYLE HSU                                                       24-01783
   JOSEPH ROBERT ALREAD                                           24-01784
   KYLE RUSSEL BERRY                                              24-01785
   KYLE WAYNE MARCON                                              24-01786
   JOSEPH SAMUEL MILLER                                           24-01787
   JOSEPH TRUPIANO                                                24-01788
   JOSEPH WENDELL FUGITT                                          24-01789
   JOSHUA DAVID JACOBI                                            24-01790
   JOSHUA LEEROY PINEDA FIGUEROA                                  24-01791
   JOSHUA R PALAZOLA                                              24-01792
   JOSHUA SETH MUSCAT                                             24-01793
   JOSHUA SOLAR SMITH                                             24-01794
   JOSHUA TAEHYUN KIM                                             24-01795
   EDWARD ERIC WENG                                               24-01796
   EDWARD J RYAN JR                                               24-01797
   EDWARD RINDO MCCARTHY                                          24-01798
   EDWARD YEH                                                     24-01799


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                                                                  Adv. Case
   Defendant Name                                                 No.
   EDWIN JARED VELDHEER                                           24-01800
   EDWIN JOSEPH SABEC                                             24-01801
   Eli Frame                                                      24-01802
   JASON MARRIOTT STEIN                                           24-01803
   ELIAZAR CRUZ                                                   24-01804
   JASON MICHAEL MCOMBER                                          24-01805
   Elixir Enterprises LLC                                         24-01806
   ELIZABETH JANE OWEN                                            24-01807
   JASON MING TING                                                24-01808
   JASON R KIRBY                                                  24-01809
   JASON R OWENS                                                  24-01810
   Jason T Rainer                                                 24-01811
   JAVIER CRUZ RIOJAS                                             24-01812
   JAVIER GREGORIO LOVERDE                                        24-01813
   JEAN ROZIN                                                     24-01814
   JEFF TODD ROBERTS                                              24-01815
   JEFFERSON DAINES VANBLOEM                                      24-01816
   JEFFERY ADOLPH HAMMERBERG                                      24-01817
   JEFFREY ALAN LACERTE                                           24-01818
   JEFFREY ALLEN SPENCER                                          24-01819
   JEFFREY CLAYTON LUTZ                                           24-01820
   JEFFREY CORRALES MAGANIS                                       24-01821
   JEFFREY D AURAND                                               24-01822
   JEFFREY IAN FEIN                                               24-01823
   JEFFREY JERRY RONNING                                          24-01824
   JEFFREY LANE JOHNSON                                           24-01825
   JEFFREY LOUIS MARKOWSKI                                        24-01826
   JEFFREY M DORMAN                                               24-01827
   JEFFREY MATHEW ABALOS                                          24-01828
   JEFFREY THOMAS PACHECO                                         24-01829
   Jennifer Michaela Byrne                                        24-01830
   JEREMY BRANDON VANDAGRIFF                                      24-01831
   Jeremy Lee Johnson                                             24-01832
   JEREMY MICHAEL DORY                                            24-01833
   JEROLYN ELAINE SPADY                                           24-01834
   JEROME ALEXANDER BYRNE                                         24-01835
   JESSICA LYNN ALLEN                                             24-01836
   JI YOON CHUNG                                                  24-01837
   JIA LIU                                                        24-01838
   JIMIN LEE                                                      24-01839
   JIMMY AN NGUYEN                                                24-01840
   JING YAU MARK LIN                                              24-01841


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   Defendant Name                                                 No.
   Joanna Fang Di Zhu                                             24-01842
   Joe Mosed                                                      24-01843
   JOEL ANDREW MUELLER                                            24-01844
   JOEL BREEN                                                     24-01845
   JOHN ANDREW NYMAN                                              24-01846
   ELLIOTT EVANS KIGER                                            24-01847
   JOHN ANTHONY DEGRACE                                           24-01848
   ELSA GOMEZ ECHEVERRI                                           24-01849
   JOHN AUSTIN ATNIP                                              24-01850
   JOHN C MARRA                                                   24-01851
   EMERSON DAVID TAYMOR                                           24-01852
   JOHN CAMPBELL GILLILAND III                                    24-01853
   EMILE GEORGE PLISE                                             24-01854
   JOHN CHARLES II HARDISON                                       24-01855
   JOHN CHARLES OVENTILE                                          24-01856
   EMILY HOLMES CAMPANO                                           24-01857
   EMILY MEIYUE WENG                                              24-01858
   EN FAN HO                                                      24-01859
   ERIC ANDREW COLLISSON                                          24-01860
   ERIC BOYD VOGELER                                              24-01861
   ERIC DAVID SHANKS                                              24-01862
   ERIC HAMILTON SMITH                                            24-01863
   ERIC JOSEPH CHINLUND                                           24-01864
   ERIC KEITH GORDON                                              24-01865
   CHRISTOPHER MICHAEL ROHRER                                     24-01866
   ERIC MARTIN GROSE                                              24-01867
   CHRISTOPHER PAUL YODER                                         24-01868
   Christopher Per Bristow                                        24-01869
   ERIC MICHAEL DOEBELE                                           24-01870
   CHRISTOPHER RABON HARPER                                       24-01871
   ERIC NICHOLAS VAUGHAN MOSS                                     24-01872
   CHRISTOPHER W GAFVERT                                          24-01873
   ERIC PAUL EDWARDS                                              24-01874
   CHUN HAENG YI                                                  24-01875
   ERIC TODD WINCHELL                                             24-01876
   ERIK B KOBLENCE                                                24-01877
   CINDY CHU                                                      24-01878
   ERIK DAVID BRADEN                                              24-01879
   CINDY JYH YANG                                                 24-01880
   ERIK SCOTT WHITLOCK                                            24-01881
   CINDY LEE                                                      24-01882
   ERIKA CHRISTY GEHLEN                                           24-01883


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   Defendant Name                                                 No.
   CLAYTON ROBERT TODDY                                           24-01884
   ERNEST GONZALEZ BASOCO                                         24-01885
   CLWhite SDIRA LLC                                              24-01886
   CODY RAY DANIEL                                                24-01887
   ERNEST LEE YUKL                                                24-01888
   COLE ISRAEL ZUCKER                                             24-01889
   ERNESTO TARANGO                                                24-01890
   COLE THOMAS GORDON                                             24-01891
   Consulting of Palm Beach LLC                                   24-01892
   ERWIN JOSEPH LLERA TENEBRO                                     24-01893
   ESSAYED SAFIEDINE                                              24-01894
   ETHAN MICHAEL ROOTS                                            24-01895
   COREY VINCENT LEONARD                                          24-01896
   EVAN ELLIOTTHERMAN PARTCH                                      24-01897
   CRISTIANA ROSE NAZZARO                                         24-01898
   EVAN LOUIS ALBERT                                              24-01899
   CRYSTAL CHAO                                                   24-01900
   Cypress LLC                                                    24-01901
   Evolution Computers Inc                                        24-01902
   FABIOLA VANESSA ESCALANTE                                      24-01903
   DAMIEN GERARD COUGHLAN                                         24-01904
   FERGIL PETER MILLS                                             24-01905
   FERGUS ELLIS HARNETT                                           24-01906
   FERNANDO AUGUSTIN YANEZ                                        24-01907
   DANA M HOMPLUEM                                                24-01908
   FIDENCIO BRAMBILA                                              24-01909
   DANE PATRICK HIX                                               24-01910
   Flat Hills Trust                                               24-01911
   Danian Financial LLC                                           24-01912
   DANIEL ALEXANDER BRINGHAM                                      24-01913
   DANIEL ANTHONY VALENZUELA                                      24-01914
   DANIEL DALE LAUTERBACH                                         24-01915
   DANIEL EDWARD CHILDS                                           24-01916
   DANIEL EDWARD RENTMEISTER                                      24-01917
   DANIEL ELEAZAR QUINONEZ                                        24-01918
   DANIEL HAGEN AXELSEN                                           24-01919
   FORREST ANDREW NABORS                                          24-01920
   DANIEL HERNANDEZ                                               24-01921
   FRANCESCO CAFAGNA                                              24-01922
   DANIEL JAMES RAZORE                                            24-01923
   FRANCIS JOSEPH PEZZOLANELLA                                    24-01924
   DANIEL JASON GOLDMAN                                           24-01925


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   Defendant Name                                                 No.
   FRANCO ALFONSO LOPEZ                                           24-01926
   Frank Cotter                                                   24-01927
   DANIEL JOHN BARTGEN                                            24-01928
   FRANK K NOOJIN                                                 24-01929
   DANIEL JOSEPH FARINELLA                                        24-01930
   FRANK LIN                                                      24-01931
   DANIEL JOSEPH MOLLOY                                           24-01932
   DANIEL LAMAR GRIMES                                            24-01933
   Frank William Houpt Jr                                         24-01934
   DANIEL LEE VANSTEENKISTE                                       24-01935
   DANIEL LUPCHI WONG                                             24-01936
   FRANZISKA KATHLEEN DUTTON                                      24-01937
   DANIEL M GRANT                                                 24-01938
   DANIEL PATRICK OBRIEN                                          24-01939
   Daniel R Myatt                                                 24-01940
   DANIEL RAY FLOYD                                               24-01941
   Daniel Schmerin                                                24-01942
   DANIEL SHIWHAN KIM                                             24-01943
   DANIEL SOO CHOI                                                24-01944
   DANIEL WARD CASE                                               24-01945
   FRED FEDOR KING                                                24-01946
   GARRETT ALEXANDER BROWNE                                       24-01947
   HEJIA SU                                                       24-01948
   HENRY HUGHES                                                   24-01949
   DANIEL XIAODONG WANG                                           24-01950
   DANNY AYBAR                                                    24-01951
   HENRY LOGAN BOWLBY                                             24-01952
   HFIO LLC                                                       24-01953
   DARREN M ORLANDO                                               24-01954
   DARRIN RAY SHERRY                                              24-01955
   DARRYL JOSEPH SANTA                                            24-01956
   DAVID BREWSTER FAIBISCH                                        24-01957
   HISTON, LLC                                                    24-01958
   DAVID CLEARFIELD NASH                                          24-01959
   HOMAM MAALOUF                                                  24-01960
   DAVID COTTON CRUTCHER                                          24-01961
   HOMERO DANIEL JR VILLARREAL                                    24-01962
   HONG MIN CHOI                                                  24-01963
   HSIN CHUN LIN                                                  24-01964
   HUA HAN                                                        24-01965
   HUNG TAP QUACH                                                 24-01966
   HUNTER CHRISTIAN BICK (ASK)                                    24-01967


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   Defendant Name                                                 No.
   HUSHAN FANG                                                    24-01968
   DAVID ERIC ANDERSON                                            24-01969
   DAVID EUNWOO CHOI                                              24-01970
   IAN JAMES HARRY MAJOR                                          24-01971
   DAVID FRANKLIN GORDON                                          24-01972
   IGOR KUPRIYAN                                                  24-01973
   DAVID GALVANVILLARREAL                                         24-01974
   GARRETT PUTNAM KLING                                           24-01975
   iheartraves LLC                                                24-01976
   DAVID GRAHAM WEIBEL                                            24-01977
   GARY R GRANT                                                   24-01978
   David Herbert                                                  24-01979
   ILIR IKONOMI                                                   24-01980
   GAURANG PATEL                                                  24-01981
   Indie source inc                                               24-01982
   DAVID J SILVERBERG                                             24-01983
   GAVIN JAMES TELFER                                             24-01984
   DAVID JUSTIN FRENCH                                            24-01985
   into the am clothing llc                                       24-01986
   GENNADIY V KRASKO                                              24-01987
   DAVID KAILASH DEWOLFE                                          24-01988
   INVESIO LLC                                                    24-01989
   DAVID LEE HAY                                                  24-01990
   GEOFFREY ALAN ROMINE                                           24-01991
   IRINA KURDIANI                                                 24-01992
   GEOFFREY MICHAEL YUHASKER                                      24-01993
   DAVID MICHAEL EGAN                                             24-01994
   IRMA BOTIER                                                    24-01995
   GEORGE AJAZI                                                   24-01996
   DAVID P SCHREINER                                              24-01997
   IVAN LYNN ERICKSON                                             24-01998
   DAVID PHILLIP CAMPANO                                          24-01999
   GEORGE ANDREWCHRISTOPHER SAKHEL                                24-02000
   JACOB D HEWITT                                                 24-02001
   GEORGE MASGRAS                                                 24-02002
   JACOB HOWARD BLUM                                              24-02003
   GEORGE MENG CHEN                                               24-02004
   JACOB JON STEELE                                               24-02005
   GEORGE MICHAEL WRIGHT                                          24-02006
   GEORGE RAY SHAPLEY                                             24-02007
   GEORGE THOMAS HAMMOND                                          24-02008
   GEORGE TUNG                                                    24-02009


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   Defendant Name                                                 No.
   GERALD DOUGLAS FRASER                                          24-02010
   JACOB RONALD MAES                                              24-02011
   GERALD WAI HONG KIM                                            24-02012
   DAVID THOMAS KING                                              24-02013
   JAIME ALFONSO MARTIN                                           24-02014
   GERARD EDWIN RUTISHAUSER                                       24-02015
   DAVID TYLER BERNAVICH                                          24-02016
   JAMES ALAN MILES                                               24-02017
   JAMES B TAING                                                  24-02018
   JAMES DELLA FEMINA                                             24-02019
   GLEN HIDEO KOJIMA                                              24-02020
   JAMES EDWARD ROTEN                                             24-02021
   GO SUGAYA                                                      24-02022
   DAVY YUHSI MAO                                                 24-02023
   JAMES ELMER NORDQUIST                                          24-02024
   GOPI JANARDHANA MENON                                          24-02025
   DAWN LYNNE BEAL                                                24-02026
   JAMES FRANKLIN KELLEY IV                                       24-02027
   GORAN STOJAKOVIC                                               24-02028
   JAMES G GERMANI                                                24-02029
   DEBASHISH ROY                                                  24-02030
   GORDON BRAMAN REESE                                            24-02031
   JAMES GERARD BUCHER                                            24-02032
   DEEP DHANANJAY PATEL                                           24-02033
   JAMES JULIUS OWEN                                              24-02034
   GRANT LEE SEBASTIANO                                           24-02035
   DELANO RENE JOHNSON                                            24-02036
   JAMES R SHAUGHNESSY                                            24-02037
   GREGORY ALEXANDER COOK                                         24-02038
   DENNIS C CHENG                                                 24-02039
   JAMES RAQUEL LEYBA                                             24-02040
   GREGORY ANDREW HENDERLIGHT                                     24-02041
   DENNIS XIONG                                                   24-02042
   DEREK CHRISTIAN PIETRO                                         24-02043
   JAMES ROBERT THOMPSON                                          24-02044
   GREGORY SCOTT CARMICHAEL                                       24-02045
   DERRICK EDWIN GUTIERREZ                                        24-02046
   GREGORY SCOTT LATUS                                            24-02047
   JAMES THOMAS FISHER                                            24-02048
   DHARMESH D MISTRY                                              24-02049
   GREGORY WRIGHT MAUK                                            24-02050
   DIRK EDWARD TINLEY                                             24-02051


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   Defendant Name                                                           No.
   JAMES WOODWARD WEIS                                                      24-02052
   Gretchen Olin Deglau                                                     24-02053
   DOMINIC JOSEPH ORLANDO                                                   24-02054
   JAMES ZHONG                                                              24-02055
   GURPREET SINGH GHAG                                                      24-02056
   Dominique Claessens                                                      24-02057
   JAMIE ROBERT COCHRAN                                                     24-02058
   DONALD WAYNE CUMMINGS                                                    24-02059
   Hannah Hamilton                                                          24-02060
   Jan Brumec                                                               24-02061
   DONALD WAYNE WOODS                                                       24-02062
   HANNO DIETER FICHTNER                                                    24-02063
   JAREN RANDALL PATTERSON                                                  24-02064
   HAOLONG ZHENG                                                            24-02065
   JASON AWAD                                                               24-02066
   HARI PRASAD KAMINENI                                                     24-02067
   JASON KUSUMA                                                             24-02068
   JASON LOUIS GREENBAUM                                                    24-02069
   Douglas Darlington Reynolds                                              24-02070
   DOUGLAS DELANEY JORDAN                                                   24-02071
   DOUGLAS KENT MCADOO                                                      24-02072
   DOUGLAS LEON WILLIAMS                                                    24-02073
   DOUGLAS MATTHEW FOX                                                      24-02074
   DUNCAN MAURICE LALIBERTE                                                 24-02075
   DUSTIN CURTIS BUCKLEY                                                    24-02076
   EDWARD CHEN                                                              24-02077
   HAROLD VINES                                                             24-02078
   HARRISON CHARLES SCHOENAU                                                24-02079
   HASHEM SEDAGHATPOUR                                                      24-02080
   ANDY LI                                                                  24-02081
   FRANKLIN GEORGE DOWNING III                                              24-02082
   EDWIN T LAYNG IV                                                         24-02083
   EVAN JACOBSON                                                            24-02084
   DAVID W MILLER                                                           24-02085
   DAI YU                                                                   24-02086
   Jason Nerio                                                              24-02087
   JAMES JUSTIN GARNER                                                      24-02088
   RICHARD ANDREW GRAUB                                                     24-02089
   RICHARD BRANDON MEAMBER                                                  24-02090
   RICHARD FRANCIS WOLFGANG                                                 24-02091
   Richard H. Montgomery III Irrevocable Trust FBO William J. Montgomery
   u/a/d 8/15/2008 Trust                                                    24-02092
   RICHARD JOSE ESTEVEZ                                                     24-02093

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   Defendant Name                                                  No.
   RICHARD JOSEPH CARDENAS                                         24-02094
   RICHARD LEE MARCHBANKS                                          24-02095
   RICHARD LEE SCHNEIDER                                           24-02096
   RICHARD PAUL ADAMS                                              24-02097
   RICHARD TAN                                                     24-02098
   RICHARD W FERREE                                                24-02099
   Ricky L. Snyder Revocable Living Trust                          24-02100
   RIVERA SOTO CARLOS ALBERTO                                      24-02101
   ROBERT ALLEN JONES                                              24-02102
   ROBERT ALLEN MOOREFIELD III                                     24-02103
   ROBERT HUGHES LEWIS                                             24-02104
   ROBERT LAMAR WILLIAMS                                           24-02105
   ROBERT LIVINGSTON KRABER                                        24-02106
   KYUNG LAN CHOI                                                  24-02107
   ROBERT RICHARD FEOLE                                            24-02108
   KYUNG MO KANG                                                   24-02109
   ROBERT TODD HUGHLETT                                            24-02110
   ROBERT VERNON SNYDERS                                           24-02111
   ROBYN NORRIS CASADY                                             24-02112
   RODNEY LASTRA MIRANDA                                           24-02113
   ROGER ARMAND ABEJEAN                                            24-02114
   KYUNG SIK SUH                                                   24-02115
   ROLANDO VILLANUEVA GUTIERREZ                                    24-02116
   LAMBIT, LP                                                      24-02117
   ROMAN KHAVES                                                    24-02118
   ROMAN MARK CRESTO                                               24-02119
   Lan Zhou                                                        24-02120
   RON MALININ                                                     24-02121
   LANCE A SMAGALSKI                                               24-02122
   RONALD MIKHAIL ANGSIY                                           24-02123
   LANDON HANS-JURGEN JOHNSON                                      24-02124
   RONNIE BAUTISTA LAZO                                            24-02125
   LANDON JOHN WILSON                                              24-02126
   LARRY TUCKER DAVIS                                              24-02127
   LARS THOMAS RYDSTROEM                                           24-02128
   LATCHMAN D SINGH                                                24-02129
   LEAH RACHEL CROCKER                                             24-02130
   LEANDRE JACQUES MELDENER                                        24-02131
   Leary Holdings LLC                                              24-02132
   LEE JAMES DONAHOE                                               24-02133
   LEE ZHANG                                                       24-02134
   LEEOR SHIMRON                                                   24-02135


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   Defendant Name                                                 No.
   LENNY LONGO                                                    24-02136
   LIANGYEU CHERN                                                 24-02137
   Ronnie Johnson Nguyen-Vo                                       24-02138
   Libertas Fund LLC                                              24-02139
   RORY MATTHEW HIGGINS                                           24-02140
   RORY MICHAEL WILL                                              24-02141
   RORY ORION PIANT                                               24-02142
   ROSS WESLEY GIELOW                                             24-02143
   ROY GENE RUSSELL                                               24-02144
   Roy Thomas Heggland                                            24-02145
   RUBAN SORIAN LOPEZ                                             24-02146
   RUBEN B VAN ENGELENBURG                                        24-02147
   RUBEN SOTO                                                     24-02148
   RUIZHONG WU                                                    24-02149
   RUMEN KRUMOV RELYOVSKI                                         24-02150
   RUSSEL EUGENE HARRAH                                           24-02151
   RUSSELL B COOVER                                               24-02152
   Ryan Alexander Somplasky                                       24-02153
   RYAN ANTHONY HAMILTON                                          24-02154
   RYAN CHRISTOPHER DAUT                                          24-02155
   RYAN DEAN AYERS                                                24-02156
   RYAN GERARD WHEELER                                            24-02157
   RYAN JACOB MORGAN                                              24-02158
   OLIVIA RODRIGUEZ CHOI                                          24-02159
   OLUWALEKE A AINA                                               24-02160
   OMAR JAMAL MIAN                                                24-02161.
   OO7 Capital LLC                                                24-02162
   OONA E CRUSELL                                                 24-02163
   PARAG SHIRISH RAJADHYAKSHA                                     24-02164
   PARAMJIT KAUR GILL                                             24-02165
   PATRICK HAN JOON KIM                                           24-02166
   PATRICK WONG                                                   24-02167
   PAUL ALEXANDER PAPASTAVROU                                     24-02168
   PAUL DOUGLAS JONES                                             24-02169
   PAUL EDWIN PETERSON                                            24-02170
   PAUL FRANKLIN DORMODY                                          24-02171
   PAUL JAMES DERIEMAKER                                          24-02172
   PAUL JOSEPH MORENO                                             24-02173
   MICHAEL GARY FRAZIER                                           24-02174
   MICHAEL GLEN SENOFF                                            24-02175
   Michael Harlan Fair II                                         24-02176
   RYAN LEIGH HARSHA                                              24-02177


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   Defendant Name                                                 No.
   MICHAEL JOHN PINSON                                            24-02178
   RYAN PATRICK WILSON                                            24-02179
   MICHAEL JOSEPH DWYER                                           24-02180
   RYAN PHILIP ARMSTRONG                                          24-02181
   MICHAEL KAIWAY TENG                                            24-02182
   MICHAEL LE TONG                                                24-02183
   RYAN THOMAS SLOPER                                             24-02184
   MICHAEL MENDOZA IIT                                            24-02185
   SACHIN BABANRAO THORAT                                         24-02186
   SAM SUNGHWAN KIM                                               24-02187
   Lifestyle Realty, LLC                                          24-02188
   MICHAEL NINO JR MCCLAIN                                        24-02189
   SAMI ABUSAAD                                                   24-02190
   MICHAEL PATRICK MOLLOY                                         24-02191
   LIJUN TAN                                                      24-02192
   SAMIR TAUFIK MASHLUM                                           24-02193
   MICHAEL PAUL BENINATI                                          24-02194
   MICHAEL SCOT BURNETT                                           24-02195
   MICHAEL SCOTT SLATER                                           24-02196
   MICHAEL SMOLYAK                                                24-02197
   MICHAEL WILLIAM CURTIS                                         24-02198
   LILA SAIDIAN                                                   24-02199
   michael youssef                                                24-02200
   LILING ZHENG                                                   24-02201
   MICHELLE LH TSING                                              24-02202
   LIONEL GERARD BANCE                                            24-02203
   MICKEY FERNANDEZ                                               24-02204
   LISA PAULINE BITTNER                                           24-02205
   MIGUEL ANGEL SANCHO                                            24-02206
   PAUL KEPLER SCHWEGLER                                          24-02207
   LITAO LIU                                                      24-02208
   MIKE QIAN                                                      24-02209
   PAUL KOGAN                                                     24-02210
   MIKE SEUNGSOCK RHEE                                            24-02211
   PAUL MERVYN LOUIS                                              24-02212
   LLOYD MITCHEL DAVIS                                            24-02213
   PAUL MICHAEL GOODMAN                                           24-02214
   MIKHAIL KIBALCHENKO                                            24-02215
   LOGAN ZACHARY BERKOWITZ                                        24-02216
   MIKHEIL MAHMOUD MOUCHARRAFIE                                   24-02217
   PAUL ROBERT CAMPANO                                            24-02218
   LONG WAN                                                       24-02219


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   Defendant Name                                                 No.
   PAUL ROCCO MARSICO                                             24-02220
   MILEN S STOYANOV                                               24-02221
   Loop Envy Inc                                                  24-02222
   PCI COMMUNICATIONS, INC.                                       24-02223
   MILES FRANK BECKLER                                            24-02224
   PENG HUANG                                                     24-02225
   LORENE K HUMPHREYS                                             24-02226
   PETER A UNGUREANU                                              24-02227
   MINGDONG YAO                                                   24-02228
   LORENZO ANTONIO JONES                                          24-02229
   PETER ALLEGRO BOER                                             24-02230
   MINH HAN LAI                                                   24-02231
   Lucas Kok                                                      24-02232
   MIRSAD HODZIC                                                  24-02233
   PETER DOUGLAS JOHNSON                                          24-02234
   LUIS FERNANDO PANTIN                                           24-02235
   MITCHELL DELMAR DIEGEL                                         24-02236
   SAMUEL KIN LAM                                                 24-02237
   PETER JOHN OLSON                                               24-02238
   MITESH PATEL                                                   24-02239
   LUIS MANUEL ESCOBAR                                            24-02240
   PETER OPDAHL                                                   24-02241
   SAMUEL LOUIS KESSEL                                            24-02242
   Mohamed Sharif                                                 24-02243
   PETER STUART MUDD                                              24-02244
   SAMUEL WILLIAM HUEBNER                                         24-02245
   LUKE ALLEN HEINRICHS                                           24-02246
   Luke Hughes                                                    24-02247
   SANDRA G WEATHINGTON                                           24-02248
   SANDRA J BUTLER                                                24-02249
   LUKE J DAY                                                     24-02250
   LYSANDER PHILIP ANTONATOS                                      24-02251
   SANG JOON RHEE                                                 24-02252
   MACIEJ P KRZEMINSKI                                            24-02253
   MAHIR ZORLAK                                                   24-02254
   MAIKA TADASHI MURASHIGE                                        24-02255
   MALCOLM ANTHONY MONAGHAN                                       24-02256
   MANFRED JACOB                                                  24-02257
   MARC ARTHUR ALEXANDRE                                          24-02258
   MARC LEE MILLER                                                24-02259
   MARCIA DARLENE DUNN                                            24-02260
   Margaret E DIFILIPPO                                           24-02261


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   Defendant Name                                                 No.
   SANG WOO PARK                                                  24-02262
   PEYTON JOSEPH WINGET                                           24-02263
   PHIL MICHAEL MAHER                                             24-02264
   PHILIP FRANK SIGNORILE                                         24-02265
   PHILLIP D SYKES                                                24-02266
   PHILLIP PHUCPHAT DIEP                                          24-02267
   PRAMOD SRIRANGAPATNA KUMAR                                     24-02268
   SANJAY WAHI                                                    24-02269
   SATYAM PRAKASH KALAN                                           24-02270
   SAURABH ROHATGI                                                24-02271
   LINDELL LEE BISHOP II                                          24-02272
   SCOTT ANDREW LIEBO                                             24-02273
   SCOTT DANIEL CORKUM                                            24-02274
   PRAVEEN DESHPANDE                                              24-02275
   SCOTT DAVID HEAMES                                             24-02276
   Quantitative Finance Inc                                       24-02277
   SCOTT KASPER                                                   24-02278
   QUOC QUY BUI                                                   24-02279
   RAGHUVEER YARLAGADDA                                           24-02280
   SCOTT MICHAEL MUI                                              24-02281
   Rajeev Chander Lall                                            24-02283
   RAJESH REDDY                                                   24-02284
   RANDALL DAVID MERCIER                                          24-02285
   RAVI MAFATLAL PATEL                                            24-02287
   RAYNOR TREY HOYT                                               24-02288
   REBECCA DANIELLE OLSSON                                        24-02290
   Refound LLC                                                    24-02291
   REX DUY PHAM                                                   24-02293
   RICHARD AARON BARRERA                                          24-02294
   MONTGOMERY DIXON LOVELL                                        24-02296
   SCOTT ROBERT BOWLBY                                            24-02297
   MorningStar Ventures Inc.                                      24-02298
   SEAN EARL PETTIS                                               24-02299
   MOTASEM BENOTHMAN                                              24-02300
   SEAN FREDERICK PREISS                                          24-02301
   MUNJAL CHETAN SHAH                                             24-02302
   SEBASTIAN JOSEF MOSS                                           24-02303
   NAHID A ELIAS                                                  24-02304
   SEPH DAVID ZDARKO                                              24-02305
   NATALIA OCAMPO PENUELA                                         24-02306
   SERGEY LOSYEV                                                  24-02307
   NEAL SCOTT BOMERSBACH                                          24-02308


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   Defendant Name                                                 No.
   SERGEY SERGEYEVICH DEMENKO                                     24-02309
   NEIL KUMAR ARORA                                               24-02310
   SERGIO LUIS SELVA                                              24-02311
   NICHOLAS BARRY CAPADONA                                        24-02312
   SETH MICHAEL VINCENT                                           24-02313
   NICHOLAS JOSEPH ISTRE                                          24-02314
   SHAHAN LUKE KHOSHAFIAN                                         24-02315
   NICHOLAS KEITH BOYD                                            24-02316
   SHAHDOR BARANDAK                                               24-02317
   SHAN GAO                                                       24-02318
   NICHOLAS THEODORE KAROGLOU II                                  24-02319
   SHAN TSAI                                                      24-02320
   MARIO ORTIGOSA                                                 24-02321
   NICK BERNARD BOUTELIER                                         24-02322
   SHANNON DAVID JONES                                            24-02323
   MARISSA SEILER                                                 24-02324
   NICOLAS ELI REJEILI                                            24-02325
   SHASHANK KHANNA                                                24-02326
   MARK A BELLUZ                                                  24-02327
   NIKHIL DARSHAN THAKKAR                                         24-02328
   SHAUN CARL LIND                                                24-02329
   MARK A HOFFMAN                                                 24-02330
   NOAH GREENLEAF COOPER HARRIS                                   24-02331
   SHAWN C CARPENTER                                              24-02332
   MARK A JACKSON                                                 24-02333
   NOAH STEVEN ADELAINE                                           24-02334
   SHAWN MICHAEL HAYES                                            24-02335
   NORMAN R HIRSCH                                                24-02336
   MARK ANTHONY MOJARRIETA                                        24-02337
   SHELDON WANG ZHAI                                              24-02338
   OLEG UDUD                                                      24-02339
   SHI WAI YU                                                     24-02340
   Mark Bell Investment Trust                                     24-02341
   SHINJI KASAHARA                                                24-02342
   Shredder LLC                                                   24-02343
   Mark Bell Roth Investment Trust                                24-02344
   SHUN-LIN SU                                                    24-02345
   MARK DAVID MILDBRANDT                                          24-02346
   SHUO YANG                                                      24-02347
   MARK EDWARD BELL                                               24-02348
   MARK FRANCE MEYERS                                             24-02349
   Mark Gantner                                                   24-02350


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   Defendant Name                                                 No.
   MARK HENRY BRYAN                                               24-02351
   MARK INUS TUCKER                                               24-02352
   MARK LEE HELMSTETTER                                           24-02353
   MARK RHODE MATTEN                                              24-02354
   MARK STEPHEN KIM                                               24-02355
   MARK WILLIAM ANDRES                                            24-02356
   MARK WILLIAM MUUS                                              24-02357
   MARK ZAAL ZAWAIDEH                                             24-02358
   MARTIN CUPKA                                                   24-02359
   MARTIN PETER WRIGHT                                            24-02360
   MARTIN TYLER CYPHERS                                           24-02361
   MASOUD AKHOONDI                                                24-02362
   MATTHEW ANTHONY PSILOS                                         24-02363
   MATTHEW E GOLDMAN                                              24-02364
   MATTHEW ISAAC DANZIG                                           24-02365
   MATTHEW J DEIS                                                 24-02366
   MATTHEW J PETRUSO                                              24-02367
   MATTHEW JAMES GASKIN                                           24-02368
   MATTHEW NICHOLAS METROS                                        24-02369
   MATTHEW RYAN HOLLADAY                                          24-02370
   MATTHEW SCOTT STOREY                                           24-02371
   MAXIM KONDRASHOV                                               24-02372
   MAXIMILIAN NALETICH SARAFIN                                    24-02373
   MEGAN DOROTHY HARRIGAN                                         24-02374
   MEHDI FRANCE MERALI                                            24-02375
   MELVIN DUANE SYMES                                             24-02376
   MELVYN CHARLES BANKOFF                                         24-02377
   MEMM Investments LLC                                           24-02378
   MICHAEL A DE LEON                                              24-02379
   MICHAEL ANDREW WURM                                            24-02380
   MICHAEL ANTHONY GREER                                          24-02381
   MICHAEL BRIAN HALL                                             24-02382
   MICHAEL CHARLES UTTER                                          24-02383
   MICHAEL CHIEHCHUIN CHEN                                        24-02384
   MICHAEL EDWARD BACKO                                           24-02385
   MICHAEL GARNER WAKEFIELD                                       24-02386
   SIMON DOUGLAS GRAHAM BRUCE                                     24-02387
   SIMON HENRY DIOGENE GARNIER                                    24-02388
   SIMON PETER BISHOP                                             24-02389
   SIMON XIAO                                                     24-02390
   SIMONE SEVERINO                                                24-02391
   SINDRE KOPPANG                                                 24-02392


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   Defendant Name                                                 No.
   SINO HOPE INVESTMENTS LIMITED                                  24-02393
   SIRAPOP BUNLERSSAKSKUL                                         24-02394
   SIYU DAI                                                       24-02395
   SmartContract Chainlink Limited SEZC                           24-02396
   Smith Superfund                                                24-02397
   SOMHANG GANMEGN                                                24-02398
   SONU SHARMA                                                    24-02399
   SOPHIA JIN SOOK CHOI                                           24-02400
   Sound Money Super Fund                                         24-02401
   SOW MEI YAM                                                    24-02402
   SOWEN NG                                                       24-02403
   STANISLAV DRAGOSLAVOV NAKOV                                    24-02404
   STANISLAV STANISLAVOV TRENEV                                   24-02405
   STANLEY WENHAN HARRISON                                        24-02406
   Starfield Consulting Ltd                                       24-02407
   STEFAN DAUPHIN VOGEL                                           24-02408
   STEFAN PATRIK AHLBOM                                           24-02409
   STEFANIE ALEXANDRA HARDING AFFELD                              24-02410
   STEFANIE AYUNINGSIH A                                          24-02411
   Steffiyoso Steffiyoso                                          24-02412
   STEPHANE BOIVIN                                                24-02413
   STEPHANE DEGRE                                                 24-02414
   STEPHANIE ANNE GROVE                                           24-02415
   STEPHANIE-BINNIE YOUNT                                         24-02416
   STEPHEN ANDREW CONWAY                                          24-02417
   STEPHEN LAURENCE MCCONNELL                                     24-02418
   STEPHEN PAUL MARSDEN                                           24-02419
   Stephen Ward Super Pty Ltd                                     24-02420
   STEVEN JON BRODIE                                              24-02421
   STUART KERR SPINDLOW                                           24-02422
   SUI F WU                                                       24-02423
   SUI KI STANLEY LAM                                             24-02424
   SUKANYA SABKASETTARIN                                          24-02425
   SULTAN RASHED SULTAN AL MALIK ALSHEHHI                         24-02426
   SUNYI XU                                                       24-02427
   SURAJ PRAKASH JADHAV                                           24-02428
   SURANG LERTKIETPANIT                                           24-02429
   SUSAN PRINGLE STARCK                                           24-02430
   SUSHIL DEVADAS SHANKAR                                         24-02431
   SwissRex AG                                                    24-02432
   SYDNEY LIE TRIONO                                              24-02433
   SYENIE MAK                                                     24-02434


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   Defendant Name                                                 No.
   SYLVAIN GUILLAUME STEPHANE JORET                               24-02435
   TA YU SIMON LIU                                                24-02436
   TAANIEL ARUJA                                                  24-02437
   TACO JOOSSE                                                    24-02438
   TAN JACK SON                                                   24-02439
   TAN LI HOWE                                                    24-02440
   TAN WEN LI REEVE                                               24-02441
   TAN YUAN HUI, KEVIN                                            24-02442
   TANOH KIM                                                      24-02443
   TAY SIEW ENG LUCIA                                             24-02444
   TECK HUAT YAP                                                  24-02445
   TECTONIC ELECTRICAL PTY LTD                                    24-02446
   TEH ZI CONG NICHOLAS                                           24-02447
   Telbit Tecnologias de Informacao, Lda.                         24-02448
   TERENCE CHUNG YIN KWOK                                         24-02449
   Tesseract Group Oy                                             24-02450
   THANH TUNG NGO                                                 24-02451
   THANH TUNG PHAM                                                24-02452
   The Precept International Fund, Ltd.                           24-02453
   The Trustee for Carroll Milton Super Fund                      24-02454
   THE TRUSTEE OF THE GROVE SUPER FAMILY FUND                     24-02455
   THEE HENDY KURNIAWAN                                           24-02456
   THEUNIS PAPA                                                   24-02457
   THIERRY GEORGES JEAN DONGIER                                   24-02458
   THIERRY ST-ONGE                                                24-02459
   THIERRY VINCENT TROLLE                                         24-02460
   THOMAS DE LA POER BERESFORD                                    24-02461
   THOMAS DURKIN REGAN                                            24-02462
   THOMAS GEORGE DOWNIE                                           24-02463
   THOMAS HILFIKER                                                24-02464
   THOMAS LOIDOLT                                                 24-02465
   THOMAS PETER LOOSE                                             24-02466
   THOMAS PETER ROBIN                                             24-02467
   THOMAS QUENSEN                                                 24-02468
   THOMAS ROLAND MANRIQUE SCHARWATT                               24-02469
   THOMAS W MACDOUGALL                                            24-02470
   TIAGO FILIPE DE ALVES MENEZES MARTINS                          24-02471
   TIJMEN SCHEIFES                                                24-02472
   TIM KEDING                                                     24-02473
   TIM M EPSKAMP                                                  24-02474
   TIMON DE RYCK                                                  24-02475
   TIMOTHY ALLAN MILAKOV                                          24-02476


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   Defendant Name                                                 No.
   TIMOTHY G M BUCHALKA                                           24-02477
   TIMOTHY VICTOR ALLAN JONES                                     24-02478
   TING CHONG QIAO                                                24-02479
   TOBIAS MATTHIJS VAN AMSTEL                                     24-02480
   TOBY EDMOND FELL HOLDEN                                        24-02481
   TOBY WAYNE EVANS                                               24-02482
   TOMAS GREIF                                                    24-02483
   TAN BING QIANG (CHEN BINGQIANG)                                24-02484
   TOMMY WAI TING LUM                                             24-02485
   TOMS JANKOVSKIS                                                24-02486
   TONY JEAN GILBERT LANDAIS                                      24-02487
   TORY LANE RICHARD                                              24-02488
   TRACY LEE LARKIN                                               24-02489
   Tradecraft Autonomy Fund, LP                                   24-02490
   TRAIAN TOMA ROCIU                                              24-02491
   Transformacion Puebla, S.A. DE C.V.                            24-02492
   TRAVIS A HANCOCK                                               24-02493
   TRENT BRADY                                                    24-02494
   TRENT WILLIAM HANSEN                                           24-02495
   TREVOR A KITCHER                                               24-02496
   TREVOR DOUGLAS SMITH                                           24-02497
   Trigon Trading Pty Ltd                                         24-02498
   TROY DAVID WILLIAMS                                            24-02499
   TSZ TSUNG YEUNG                                                24-02500
   TSZ WING LEUNG                                                 24-02501
   TSZ YEUNG CHOI                                                 24-02502
   TU DIEN DO                                                     24-02503
   TUOMO JUHANI JAERVENPAEAE                                      24-02504
   TYLER QUOC THAI DO                                             24-02505
   TZU HSIN LEE                                                   24-02506
   UAB Debex Operations                                           24-02507
   UCHENNA KIZITO OKEHIE                                          24-02508
   UGIS STRAUSS                                                   24-02509
   URBAN AREGGER                                                  24-02510
   VALENTIN CUCU                                                  24-02511
   VALENTIN GONCZY                                                24-02512
   VALENTIN JEAN-MARIE BETRIX                                     24-02513
   VALTER DUARTE FERREIRA GAMEIRO                                 24-02514
   VAN TAI DUONG                                                  24-02515
   VANESSA JOY DEAN                                               24-02516
   VANIA TODOROVA GORTCHEVA                                       24-02517
   VICTOR HUGO VILLALOBOS PAZ                                     24-02518


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   Defendant Name                                                 No.
   VIET NGA LE                                                    24-02519
   VINCENT BICHON                                                 24-02520
   VINCENT JACOBUS MARIA BUIS                                     24-02521
   VINCENT JOSEPH CARSON                                          24-02522
   VINCENT STEPHEN THOMAS MACLEAN                                 24-02523
   VINCENZO AGUI                                                  24-02524
   VITALIE ROTARU                                                 24-02525
   VITALII NECHAIEV                                               24-02526
   VOLODYMYR FLORESKUL                                            24-02527
   VU HUYEN TRANG                                                 24-02528
   WAI CHUN LEUNG                                                 24-02529
   WAI CHUN PHOON                                                 24-02530
   WAI HUNG CHAN                                                  24-02531
   WAI YEE JACKY LIN                                              24-02532
   ADAM ANTON POWLEY                                              24-02533
   ADAM GEORGE LAZAROU                                            24-02534
   ADRIAN-NICOLAE NISTOR                                          24-02535
   AF PASQUALOTTO                                                 24-02536
   AHMAD ATALLA                                                   24-02537
   AHMED AHMED                                                    24-02538
   AKANE FAZEL                                                    24-02539
   AKSHAY BAJAJ                                                   24-02540
   ALAIN MARIE BERNARD AUGUSTE BOURDIN                            24-02541
   ALAN JEFFREY HUNT                                              24-02542
   ALAN JOHN EDWARDS                                              24-02543
   ALAN LAYNE WHITTINGTON                                         24-02544
   ALAN S FARRELL                                                 24-02545
   ALBERTO FAVARETTO                                              24-02546
   ALBERTO SANTOS GUTIERREZ                                       24-02547
   ALEJANDRO JAVIER ROSSI                                         24-02548
   ALEJANDRO VELASCO NAZARET                                      24-02549
   ALEKSANDER STEMPAK                                             24-02550
   ALEN WONG GUARDA                                               24-02551
   ALES ZADRAZIL                                                  24-02552
   ALESSIO STOCCHI                                                24-02553
   ALEXANDER AARON KATZ                                           24-02554
   ALEXANDER COLIN TRAIN                                          24-02555
   ALEXANDER HO JOONG KHUAN                                       24-02556
   ALEXANDER JAKUB THEODOULIDES                                   24-02557
   ALEXANDER JAMES SUTHERLAND HARTLEY                             24-02558
   ALEXANDER SPYRIDON GINIS                                       24-02559
   ALEXANDER STROGANOV                                            24-02560


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   Defendant Name                                                 No.
   ALEXANDR YACIMOV                                               24-02561
   ALEXANDRE FRANCIS GILBERT HUBER                                24-02562
   ALI KORKMAZ                                                    24-02563
   ALIZESC SRL                                                    24-02564
   ALLA ANANIEVA                                                  24-02565
   ALLAN DANIEL SALLES OLIVEIRA                                   24-02566
   ALLAN EMIL DIXON                                               24-02567
   ALLAN KA KIN MAK                                               24-02568
   AlphaPoint Global LTD                                          24-02569
   ALVARO F FEITO BOIRAC                                          24-02570
   AMANDA NG RI YING                                              24-02571
   Amelyore Digital Assets Fund Ltd                               24-02572
   AN CHIEH CHU                                                   24-02573
   ANA CRISTINA MORI                                              24-02574
   ANANTH KIDAMBI                                                 24-02575
   ANDRAS MENDIK                                                  24-02576
   ANDRE LOPES CARVALHO VIANA                                     24-02577
   ANDREA CUMMING                                                 24-02578
   ANDREA DISTEFANO                                               24-02579
   ANDREAS TORBERGSEN                                             24-02580
   ANDREJ MRZEL                                                   24-02581
   ANDRES GABRIEL VILLARREAL GOMEZ                                24-02582
   ANDRES LOPEZ GARCIA                                            24-02583
   Andrew Brenton Super Fund                                      24-02584
   ANDREW DAVID ZOLA DALAMBA                                      24-02585
   ANDREW GEORGE CHAPMAN                                          24-02586
   ANDREW JOHN LAWRENCE                                           24-02587
   ANDREW JOHN PATTERSON                                          24-02588
   ANDREW M TYMMS                                                 24-02589
   ANDREW P KANIS                                                 24-02590
   ANDREW ROBERT HENDERSON                                        24-02591
   ANDREW WOODCOCK                                                24-02592
   ANDREYOSO SUTIKNO                                              24-02593
   ANES ALAJMOVIC                                                 24-02594
   ANESTIS ILIADIS                                                24-02595
   ANGEL RUDY SYLVAIN NGUYEN VAN HO                               24-02596
   SIRAJ RAVAL                                                    24-02597
   ANGELICA EMILIA POZON                                          24-02598
   SJ Tech Consulting Trust                                       24-02599
   ANGELOS DALLAS                                                 24-02600
   ANIEL ARUN GOHIL                                               24-02601
   SOHEIL TAGHAVIZARGAR                                           24-02602


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   ANNELIES CHRISTINA BURCKSEN                                    24-02603
   ANNETTE CHRISTINE DAVIES                                       24-02604
   ANOUK M G VAN DONGEN                                           24-02605
   ANTHONY DAVID NELSON                                           24-02606
   SPENCER JAMES HENKEL                                           24-02607
   ANTHONY EDGAR JOHANNES HULSMAN                                 24-02608
   SPENCER NEAL MONTGOMERY                                        24-02609
   ANTHONY EGBE                                                   24-02610
   ANTHONY FERRO                                                  24-02611
   SpyGlass Ventures LLC                                          24-02612
   ANTON CONSTANTIN JOST SCHRAFL                                  24-02613
   STANLEY ALEXANDER HUDSON                                       24-02614
   ANTONIO DI FEDE                                                24-02615
   STEPHANE JULIETTE OUZLAN                                       24-02616
   ANTONIO MANUEL RODRIGUEZ MESA                                  24-02617
   STEPHEN M CICIRELLI                                            24-02618
   ANTONIUS MARINUS JOHANNES AARSSEN                              24-02619
   ANTONY GHAZAVI                                                 24-02620
   STEPHEN NGUYEN                                                 24-02621
   Anubi Digital SRL                                              24-02622
   STEPHEN W WONG                                                 24-02623
   ANURAG ARUN RAO                                                24-02624
   ARASH NAJAFI                                                   24-02625
   STETSON HEATH HOGUE                                            24-02626
   AREUM LEE                                                      24-02627
   STEVEN HIRDSHI ONO                                             24-02628
   ARNA SPROAL                                                    24-02629
   STEVEN JEFFERY HOTMAR                                          24-02630
   ARNOLD OOSTERBAAN                                              24-02631
   ARNUN LERTKIETPANIT                                            24-02632
   STEVEN LY                                                      24-02633
   ARTAYA BOONSOONG                                               24-02634
   STEVEN MICHAEL JEKANOWSKI                                      24-02635
   ARTHUR NIGEL PONT                                              24-02636
   STEVEN R DONALDSON                                             24-02637
   STEVEN TYLER SCHEMERS                                          24-02638
   STUART LOUIS STEIN                                             24-02639
   SUDEEP JESANI                                                  24-02640
   ARTHUR TON LE                                                  24-02641
   ARTUR TOMASZ KACZMARCZYK                                       24-02642
   SUMEDHA ISHAK DESILVA                                          24-02643
   SUNYAN LEE                                                     24-02644


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   Defendant Name                                                 No.
   ASGER SCHLICHTKRULL                                            24-02645
   SUPREETHA KASHYAP                                              24-02646
   ATIT LERTKIETPANIT                                             24-02647
   AXEL FACIUS                                                    24-02648
   SUSAN AHMAD                                                    24-02649
   SUSAN EILEEN CAGGIANO                                          24-02650
   BAPTISTE ANTOINE HEDIARD                                       24-02651
   BARRY ALLEN HOBMAN                                             24-02652
   SYED MOHAMMED RAZA KAZMI                                       24-02653
   BART REURS                                                     24-02654
   TAD DOUGLAS SCHOEDEL                                           24-02655
   TAE H HAM                                                      24-02656
   TAE YOUNG KIM                                                  24-02657
   TAMAS MULLER                                                   24-02658
   TAYLOR TODDHENRY NIELSEN                                       24-02659
   Tayrona Investments LLC                                        24-02660
   Ted S Kim                                                      24-02661
   TED T WU                                                       24-02662
   THAIBINH HUU NGUYEN                                            24-02663
   THEODORE RUSSELL CAHALL JR                                     24-02664
   Third Haven Digital Yield Fund LLC                             24-02665
   THOMAS CHRISTOPHER BURDETT                                     24-02666
   THOMAS DANIEL HARBERT                                          24-02667
   WADE NOEL OLSEN                                                24-02668
   Wahl Coats Investments LLC                                     24-02669
   CHIA HUNG HSU                                                  24-02670
   WALEED AFZAL                                                   24-02671
   THOMAS NEIL AMAN                                               24-02672
   Warren Bernard Doussan Jr                                      24-02673
   THOMAS NICHOLS WAGNER                                          24-02674
   WBRR Trust Investments LLC                                     24-02675
   THOMAS P CLANCY                                                24-02676
   WEITONG LU                                                     24-02677
   THOMAS PANG AU YEUNG                                           24-02678
   THOMAS PATRICK MORAN                                           24-02679
   WENDELL LAMONTE BALOUS                                         24-02680
   THOMAS SHAW WINGELS                                            24-02681
   THOMAS STEPHEN KOJOE YIRENKYI                                  24-02682
   Wendell Walker                                                 24-02683
   THOMAS SUYU CHEN                                               24-02684
   THUAN DINH PHAM                                                24-02685
   WENIFREDO LOPEZ SUAREZ                                         24-02686


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   Defendant Name                                                   No.
   THURMAN JACOB LEE                                                24-02687
   TIMOTHY F SHANAHAN                                               24-02688
   Wesley Clare Lones                                               24-02689
   Timothy Mogck                                                    24-02690
   TIMOTHY OHARA                                                    24-02691
   WESTEN LEE NORRIS                                                24-02692
   Thomas Deibler-Ehrlich                                           24-02693
   Westmount LLC                                                    24-02694
   TIMOTHY R OBRIEN                                                 24-02695
   THOMAS EDWARD MORAN                                              24-02696
   WILBERT JAMES NEWHALL                                            24-02697
   TIMOTHY REED THOMPSON                                            24-02698
   TIMOTHY RUSSELL CRANE                                            24-02699
   WILL THOMAS MCCANN                                               24-02700
   THOMAS EDWIN MCCANN                                              24-02701
   WILLIAM ARROYO                                                   24-02702
   THOMAS GEORGE BOHAGER                                            24-02703
   WILLIAM BARDWELL CURTO                                           24-02704
   THOMAS HARDY HUGGINS                                             24-02705
   THOMAS HARPOINTNER                                               24-02706
   TINA M LITTLE                                                    24-02707
   WILLIAM BRICE KING                                               24-02708
   TKO Unlimited LLC                                                24-02709
   THOMAS LAWRENCE HALL                                             24-02710
   TODD CHRISTOPHER VOSS                                            24-02711
   WILLIAM BUCK HANSEN                                              24-02712
   THOMAS MCSHANE PRINCE                                            24-02713
   TODD JASON GOLDFARB                                              24-02714
   WILLIAM CORBETT BUCHLY                                           24-02715
   TODD ROBERT FERGUSON                                             24-02716
   TODD WILLIAM FISK                                                24-02717
   TOM EDWARD BARDNER                                               24-02718
   Tomlinson Wine Group Retirement Plan                             24-02719
   TRAM ANH NGOC NGUYEN                                             24-02720
   BAS VAN DER HEIJDEN                                              24-02721
   Baux & Co S de RL de CV                                          24-02722
   TRAVIS DANIEL DELKER                                             24-02723
   TRAVIS RAY ZIGLER                                                24-02724
   BC1299841 bc ltd.                                                24-02725
   Tristate holdings LLC.                                           24-02726
   TRUC TRUNG NGUYEN                                                24-02727
   BEAU DONALD CHENERY                                              24-02728


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   Defendant Name                                                 No.
   TY WILSON CAYCE                                                24-02729
   WILLIAM D REW                                                  24-02730
   BEN PATTIMORE                                                  24-02731
   TYLER DEAN SMITH                                               24-02732
   WILLIAM DEAN SNIPES                                            24-02733
   BEN SWIFT                                                      24-02734
   TYLER JAMES DORION                                             24-02735
   TYLER RAFAEL VICKERY                                           24-02736
   WILLIAM F BURNS                                                24-02737
   BEN WHITWORTH                                                  24-02738
   TYLER RYAN CORNELL                                             24-02739
   WILLIAM HAYDEN TIMMINS                                         24-02740
   TZVI YOSEF FEIFEL                                              24-02741
   BENJAMIN MICHEL ANDRE CORNIL AMPEN                             24-02742
   UTKARSH SACHAAN                                                24-02743
   WILLIAM JEY WANG                                               24-02744
   BENJAMIN SHIELDS                                               24-02745
   VADZIM A YAZVINSKI                                             24-02746
   WILLIAM LIU                                                    24-02747
   VAL GARTH SUNDBERG                                             24-02748
   BENNY CHIANG                                                   24-02749
   VALERIA KHOLOSTENKO                                            24-02750
   William Marlett LLC                                            24-02751
   BERNARD MYBURGH                                                24-02752
   VED PRAKASH MISHRA                                             24-02753
   WILLIAM MORGAN DAYTON                                          24-02754
   VELOCITY BLUE ASSETS LLC                                       24-02755
   BERNARD TAN                                                    24-02756
   WILSON LING                                                    24-02757
   VFN Management LLC                                             24-02758
   BERNAT FAMILY OFFICE, SL                                       24-02759
   Wyre Payments Inc                                              24-02760
   VICTOR MANUEL VEDOVATO                                         24-02761
   BEVAN JOHN BEAMES                                              24-02762
   XI LIN                                                         24-02763
   VICTOR OLIVEIRA HOLTREMAN                                      24-02764
   XIAOHU FAN                                                     24-02765
   BEVAN JOHN IAN WOOD                                            24-02766
   VIKRAM MADHUKAR PATIL                                          24-02767
   VINCENT E FALABELLA                                            24-02768
   BIN XIE                                                        24-02769
   YAKOV E KUTSOVSKY                                              24-02770


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   Defendant Name                                                          No.
   VINCENT M PUGLIESE                                                      24-02771
   YASMANI DELGADO CARIDAD                                                 24-02772
   VIRAJ SINHA                                                             24-02773
   YECHIEL SHALOM BITTON                                                   24-02774
   VISHAL MAINI                                                            24-02775
   YONG IL CHA                                                             24-02776
   YOSHIHIRO LUK                                                           24-02777
   Yuca Capital LLC                                                        24-02778
   YUE WANG                                                                24-02779
   YVON BARIBEAU                                                           24-02780
   ZACHARY CHARLES WILLIAMS                                                24-02781
   BITCOIN ALPHA SP -Segregated Portfolio of Invictus Capital Financial
   Technologies SPC                                                        24-02782
   BIXINTXO JON BILBAO                                                     24-02783
   ZHONGYUAN XUE                                                           24-02784
   BJOERN AAKE HOLMER                                                      24-02785
   A & L Reed Pty Ltd as Trustee for A & L Reed Family Trust               24-02786
   BJORN HENRIK HALLENBORG                                                 24-02787
   ABDOOL ILANE DILMAHOMED                                                 24-02788
   ABDOOL ZIAAD DILMAHOMED                                                 24-02789
   BJORN OLA HOLTBLAD                                                      24-02790
   BLAKE GRANVILLE WINDER                                                  24-02791
   ABDULAZIZ BADER ABDULLAH ALBALOUL                                       24-02792
   BLAKE KELVIN MOORE                                                      24-02793
   ABDULRAHMAN NASR O ALHATTAMI                                            24-02794
   BLANCA VALCAZAR HERNAN GOMEZ                                            24-02795
   ABIGAIL MARIE SUDAKOV                                                   24-02796
   BOJAN APOSTOLOVSKI                                                      24-02797
   ABLE WANG ZIYI @ABLE ONG ZIYI                                           24-02798
   BORIS ALEXANDRE JEAN JOSEPH ROY                                         24-02799
   BORIS LIPTAK                                                            24-02800
   BRADLEY CHRISTOPHER IRWAN                                               24-02801
   BRADLEY CRAIG DRUE                                                      24-02802
   BRADLEY JAMES MERRITT                                                   24-02803
   BRADLEY MORRISH SEWELL                                                  24-02804
   BRADLEY NOEL READING                                                    24-02805
   BRAE N CHARLES                                                          24-02806
   BRANKO BORCIC                                                           24-02807
   BRANN TORE D VERSTRAETE                                                 24-02808
   BREDAN JAMES DAVIS                                                      24-02809
   BRENDON JAMES PARRY                                                     24-02810
   BRENTON GARY DUMBRELL                                                   24-02811
   BRETT BOTHMA                                                            24-02812

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   Defendant Name                                                 No.
   BRETT JASON TAYLOR                                             24-02813
   BRIAN JAMES OGLETREE                                           24-02814
   BRIDGETOWER INC                                                24-02815
   BRUNO COPPOLINO                                                24-02816
   BRYAN SEGURA BARRANTES                                         24-02817
   BYUNGGYU PARK                                                  24-02818
   SIMON JOHN BROWN                                               24-02819
   STEVEN ROBERT LAURDAN                                          24-02820
   STEVEN ZHIYUAN YANG                                            24-02821
   WAI LAM WONG                                                   24-02823
   Wai Kit Lau                                                    24-02824
   WEI ZHANG                                                      24-02825
   Caleb and Brown Pty Ltd                                        24-02826
   CAMERON ANGAD RODDHA                                           24-02827
   Cameron Drummond Rey                                           24-02828
   CAMERON ROGER MOFFAT                                           24-02829
   CARL MAGNUS LIE                                                24-02830
   CARLO RICO TOLUZZI                                             24-02831
   CARLOS JAVIER PALACIN RODA                                     24-02832
   CAROLINE CAR-LINE CHAN                                         24-02833
   Cartesi Labs Ltd                                               24-02834
   Cascata Limited                                                24-02835
   CEDRIC ALAIN FABIEN COUNORD                                    24-02836
   CEDRIC ARNAUD STEPHANE LIONEL MENARDO                          24-02837
   CEDRIC THOMAS WALDBURGER                                       24-02838
   CESAR IVAN VELA RODRIGUEZ                                      24-02839
   CHAK MING WONG                                                 24-02840
   CHANDRESH AHARWAR                                              24-02841
   CHANGHAN KIM                                                   24-02842
   CHARLES JACQUES GUILLERMIN                                     24-02843
   CHARLES ROBERT W ARAM                                          24-02844
   CHARLES WELLINGTON ROBERTS                                     24-02845
   CHARLIE MARC LEFRANC                                           24-02846
   CHAWAN RATTANAKITTRAKOOL                                       24-02847
   CHEANG SHU MIN                                                 24-02848
   CHEE WENG CHAK                                                 24-02849
   CHEN WEI                                                       24-02850
   CHENGZHONG LIU                                                 24-02851
   CHI WAI KWOK                                                   24-02852
   CHI YAN NG                                                     24-02853
   CHIAM KAI ZHI                                                  24-02854
   CHIEH CHUNG                                                    24-02855


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   Defendant Name                                                 No.
   CHING HO LEUNG                                                 24-02856
   CHIU CHUN BOB CHAN                                             24-02857
   CHIU MAN TONG                                                  24-02858
   CHO MAN YANG                                                   24-02859
   CHONG CHAO MA                                                  24-02860
   CHRIS FLIMS                                                    24-02861
   CHRISTIAN ARMANDO VALVERDE SALDANA                             24-02862
   CHRISTIAN PHILIPPE BEAUMONT                                    24-02863
   CHRISTINA HUEGELMANN                                           24-02864
   CHRISTINE LA                                                   24-02865
   CHRISTOPH FRIEDRICH MAYR                                       24-02866
   CHRISTOPH KUEHN                                                24-02867
   CHRISTOPHE LAURENT CYRIL BAILLON                               24-02868
   CHRISTOPHE LECLERC                                             24-02869
   CHRISTOPHER DAVID TRAVIS                                       24-02870
   FERDINAND NUGROHO JAP                                          24-02871
   FERNANDO ANDINA MEIRA                                          24-02872
   FERNANDO GUTIERREZ MOSQUERA                                    24-02873
   FERNANDO MANUEL GOMES DA CRUZ                                  24-02874
   FERNANDO NICASTRI                                              24-02875
   FERNANDO RODRIGUEZ VIZCARRA GOMEZ                              24-02876
   FILIPPO RICCIO                                                 24-02877
   FILIPS BELAJEVS                                                24-02878
   Finder Wallet Pty Ltd                                          24-02879
   FiVe For Life AG                                               24-02880
   FLORIAN LIRK                                                   24-02881
   FLORIS FOERSTNER                                               24-02882
   FRANCIS PETER V HUTLEY                                         24-02883
   FRANCISCO GONZALEZ GIL                                         24-02884
   FRANCO JOHAN MOCKE                                             24-02885
   FRANK LAPRE                                                    24-02886
   FRANK LEONETTE                                                 24-02887
   FREDERIC ANDRE G JACQUES                                       24-02888
   FREDERIC VERONIQUE W DE WOLF                                   24-02889
   FREDERIK TED WILHELM JOHANSON                                  24-02890
   GABOR DOLHAI                                                   24-02891
   GABRIEL I ROBINSON                                             24-02892
   GABRIEL LE JOSSEC AMAR                                         24-02893
   GAETAN ROBERT CAPOU                                            24-02894
   GARETH ALAN WILLIAMS                                           24-02895
   GARETH CARL PIERPOINT WARD                                     24-02896
   GARETH WILLIAM JARVIS PHILLIPS                                 24-02897


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   Defendant Name                                                 No.
   CHRISTIAN KEVIN HAUSNER                                        24-02898
   CHRISTOPHER DOYLE                                              24-02899
   CHRISTOPHER JAMES GRAYLAND                                     24-02900
   CHRISTOPHER JAMES HANCOCK                                      24-02901
   CHRISTOPHER JONATHAN GIM YEE                                   24-02902
   CHRISTOPHER MIKE BRUNO                                         24-02903
   CHRISTOPHER STEPHEN WOOD                                       24-02904
   chuen ming chua                                                24-02905
   CHUN KAN YAU                                                   24-02906
   CHUNG HONG YEO                                                 24-02907
   CINDY CORINNE FOLLONIER                                        24-02908
   CLAIRE MIKI NISHIMURA                                          24-02909
   CLAUDIO FERRARI                                                24-02910
   DANISH AHMED KOORMATH                                          24-02911
   GLEN CHARLES MCGRATH                                           24-02912
   DANNY DI BOSCIO                                                24-02913
   DANNY HAIDAR                                                   24-02914
   DAPENG CHEN                                                    24-02915
   Cagnard Jonathan                                               24-02916
   DARKO OBRADOVIC                                                24-02917
   GODWIN B S SHIM                                                24-02918
   DARRAGH EOIN O BRIEN                                           24-02919
   GOH SOO WAH                                                    24-02920
   DARRYL AUSTIN KITSON                                           24-02921
   GOH WEE SEN (WU WEISHENG)                                      24-02922
   DARRYN PATTERSON                                               24-02923
   GOKTUG HALACLI                                                 24-02924
   DAVID ABEL                                                     24-02925
   GOLAN RABIN                                                    24-02926
   DAVID ALAN COVEY                                               24-02927
   Goudkuipje B.V.                                                24-02928
   DAVID BOULTON ALLEN                                            24-02929
   GRAEME MCKAGUE                                                 24-02930
   DAVID CHARLES BARKER                                           24-02931
   GRAHAM PHILIP BESWICK                                          24-02932
   DAVID GARCIA CASADEMONT                                        24-02933
   GRANT WILLIAM TREMAYNE PHILLIPS                                24-02934
   DAVID J KING                                                   24-02935
   GREG OXLEY                                                     24-02936
   DAVID JON JACOBSON                                             24-02937
   CLAUDIO ROBERTO PEREK KUPERMAN                                 24-02938
   GREGG WILLIAM HENDRY                                           24-02939


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   Defendant Name                                                 No.
   DAVID MARK REID                                                24-02940
   CLEMENT LOUP FLINOIS                                           24-02941
   DAVID MITTER                                                   24-02942
   Coinhouse LLC                                                  24-02943
   DAVID NUTA                                                     24-02944
   Coinlend Gmbh                                                  24-02945
   DAVID PATRICK BARRY                                            24-02946
   Coinmerce BV                                                   24-02947
   DAVID PAUL COHEN                                               24-02948
   COLIN MARTIN HEYES                                             24-02949
   DAVID STEWART NORTH                                            24-02950
   DAVID THIBODEAU                                                24-02951
   DAVOR KRALJ                                                    24-02952
   DAVY DANIEL RAILLARD                                           24-02953
   DCHODL Lifetime Super Fund                                     24-02954
   COLIN NICHOLAS STEIL                                           24-02955
   Deep Blue International FZ-LLC                                 24-02956
   COLLINS OHEREIN                                                24-02957
   DENIS DARKIN                                                   24-02958
   CON VEIS                                                       24-02959
   DENIS MARTIAL KELLENBERGER                                     24-02960
   DENIS SABOTIC                                                  24-02961
   GREGORY GUY ROBERT MARTINES                                    24-02962
   DENNIS BELLANCINI                                              24-02963
   GUAN LIAN                                                      24-02964
   DERRICK LIM                                                    24-02965
   CORNELIS PAUL VLAGSMA                                          24-02966
   GUIDO GUENTHER MANZANO                                         24-02967
   DESMOND MCCREESH                                               24-02968
   COURTNEY FAITH JAGER                                           24-02969
   GUILLAUME BACRI                                                24-02970
   DEVERYL ANDRE DSOUZA                                           24-02971
   CRAIG ALAN FOWLER                                              24-02972
   GUILLAUME HENRI VERBAL                                         24-02973
   DICKY PEREIRA                                                  24-02974
   GUSTAV CUSCHIERI                                               24-02975
   CSABA CSABAI                                                   24-02976
   DIDIER GILBERT VANMAERCKE                                      24-02977
   GUY HAMILTON ROBERTSON                                         24-02978
   CSABA DEKANY                                                   24-02979
   DIEGO ALONSO RUIZ DE SOMOCURCIO TABINI                         24-02980
   CYRIL SZE NING YUEN                                            24-02981


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   Defendant Name                                                 No.
   GUY JONATHAN RUSSELL                                           24-02982
   DIEGO GEROLD WOLF                                              24-02983
   HANMIN YANG                                                    24-02984
   CYRILLE NICOLAS GARIN                                          24-02985
   Digital Asset Ventures Limited                                 24-02986
   DALIBOR VUCELIC                                                24-02987
   HANNA ZAPOROZHETS                                              24-02988
   DIMCHE RISTESKI                                                24-02989
   DAMIAN JAY NEGUS                                               24-02990
   HANQING TSIEN                                                  24-02991
   DIMITRI DIMA ANTONIADES                                        24-02992
   HANSPETER STERN                                                24-02993
   DIMITRIOS PAPANASTASIOU                                        24-02994
   DAMIAN SLOPER                                                  24-02995
   HARPINDER KAUR JAMMU                                           24-02996
   DANG HUY LAI                                                   24-02997
   DION PRESUTTO                                                  24-02998
   HAYDEE BARROSO BANALES                                         24-02999
   DANG LAM NGUYEN                                                24-03000
   DIONYSIUS P HOOLJMANS                                          24-03001
   HEIKKI PIETARI POSTI                                           24-03002
   DANIEL ALEXANDER JAMES ALEXIUC                                 24-03003
   DIRK RAVESTEIN                                                 24-03004
   HELEN SOTIROPOULOS                                             24-03005
   DJILLALI YOUSFI                                                24-03006
   DANIEL CORREA TUCUNDUVA                                        24-03007
   HELN GODFRED VAN DER WIELEN                                    24-03008
   DMITRY SOKOLOV                                                 24-03009
   DOHYUN WOO                                                     24-03010
   DANIEL DAVID HUGHES                                            24-03011
   HENRY ARTHUR DALLAS BRETT                                      24-03012
   DANIEL GERARD L ELMAN                                          24-03013
   HENRY ERIK STOLT                                               24-03014
   HENRY JOHN FOX GOODSON WICKES                                  24-03015
   DANIEL HARTYUN AZIZ                                            24-03016
   HENRY RICHARD GWILLIAM                                         24-03017
   DANIEL JAMES BYRNE                                             24-03018
   DANIEL PAUL STEVENS                                            24-03019
   HENRY WILLIAM WOODWARD-FISHER                                  24-03020
   DANIEL RICHARD JONES                                           24-03021
   HITESH PATEL                                                   24-03022
   HO CHUEN LEUNG                                                 24-03023


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   Defendant Name                                                 No.
   DANIELE LANDRO                                                 24-03024
   Hokyun Noh                                                     24-03025
   DANILO BELLANCINI                                              24-03026
   HON LAM WONG                                                   24-03027
   HONGLIN SIM                                                    24-03028
   HONGMEI LEI                                                    24-03029
   HOU IN KUAN                                                    24-03030
   HOU LAM CHAK                                                   24-03031
   Hsiang Ming Foo                                                24-03032
   HSIN JAN SEAN FANG                                             24-03033
   HU JIE LOONG                                                   24-03034
   HUANG SHEN                                                     24-03035
   HUGO DANIEL PENZ                                               24-03036
   HUI SHEN                                                       24-03037
   HUILIN VLAANDEREN                                              24-03038
   HO LEUNG AARON CHAN                                            24-03039
   DUŠAN ČANKOVIĆ                                                 24-03040
   DOLAN PATRICK RIGBY BERGIN                                     24-03041
   DOMINIC MALOLEPSZY                                             24-03042
   DONG WOOK HA                                                   24-03043
   DOUGLAS WANE ROBERSON                                          24-03044
   DRIES DEBACKER                                                 24-03045
   DU NGUYEN                                                      24-03046
   DUMITRU GLAVAN                                                 24-03047
   DUNG HO HUU                                                    24-03048
   DUY PHUONG TRAN                                                24-03049
   DYLAN FRANCESCO BELOTTI                                        24-03050
   EDMUND ROBERT CATT                                             24-03051
   EDUARD GEERT EDELER                                            24-03052
   EDUARDO COELHO DE QUEIROZ                                      24-03053
   EDUARDO FORBES HERRAN                                          24-03054
   EDVINAS SESKAS                                                 24-03055
   EDWARD IGNATIUS COMERFORD                                      24-03056
   EDWARD J. PALICHUK                                             24-03057
   EDWARD WON JAE LEE                                             24-03058
   EDWIN RICHARDS                                                 24-03059
   ELA GREEN                                                      24-03060
   EMANUELE CARBONI                                               24-03061
   EMANUELE FRANCIONI                                             24-03062
   EMERIE MAE UY MENDOZA                                          24-03063
   EMIL CETE                                                      24-03064
   EMILE JOHN SCHIFF                                              24-03065


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   Defendant Name                                                 No.
   EMMA GREEN                                                     24-03066
   EMMANUEL MARIE ANTHONY CARRABIN                                24-03067
   EMMANUEL ROMAIN GAEL GRAND                                     24-03068
   ENRICO RUSSO                                                   24-03069
   ENZO RICARDO RUBIO MENDEZ                                      24-03070
   ER Retirement Fund PTY LTD                                     24-03071
   ERIC ASHLEY FISHER                                             24-03072
   ERIC MITCHELL                                                  24-03073
   ERIC WONG BOON PENG                                            24-03074
   ERIK DANIEL GAIOTTINO                                          24-03075
   ERSIN NAZALI                                                   24-03076
   EVA YU-LIEN HUANG                                              24-03077
   EVGENY SKIGIN                                                  24-03078
   FABIAN HÖGNER                                                  24-03079
   FABIAN WEBER                                                   24-03080
   FABIO NENCINI                                                  24-03081
   FADL SAAD EDDINE                                               24-03082
   FAISAL TARIQ M ALOMAIR                                         24-03083
   FARSHAD TEHAMI ZAFAR                                           24-03084
   FATIH ILGUN                                                    24-03085
   FAYEZA MD SIRAJ                                                24-03086
   EMELYN EVANGELISTA                                             24-03087
   FEDERICO COSTANZO POETTO                                       24-03088
   DARREN PATTERSON                                               24-03089
   GARY DEAN AUDIE                                                24-03090
   GARY GERARD SAIDLER                                            24-03091
   GARY KANDELA                                                   24-03092
   GARY M BEAUCHAMP                                               24-03093
   GAVIN BOTHMA                                                   24-03094
   Geometric Quant Alpha Fund, Ltd                                24-03095
   GEORGE ADRIAN ILIE                                             24-03096
   GEORGE JELTE KNOTTNERUS                                        24-03097
   GEORGE KENNEDY ORMOND                                          24-03098
   GEORGE WILLIAM HEDLEY                                          24-03099
   GEORGES MARIE DE TILLY-BLARU                                   24-03100
   GERHARDUS STEFANUS DE BRUIN                                    24-03101
   GILES LUCIEN MOOREHEAD SCOTT                                   24-03102
   GILLES KEVIN PIOU                                              24-03103
   GISELA SOLEDAD SANCHEZ                                         24-03104
   GIULIANO BELOTTI                                               24-03105
   GIUSEPPE IGNAZIO ROB METTE                                     24-03106
   GIUSEPPE MURANO                                                24-03107


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   Defendant Name                                                 No.
   HUNG MINH DAO                                                  24-03108
   HUSEYIN AYDIN                                                  24-03109
   HYEWON PARK                                                    24-03110
   HYUNG GEUN OH                                                  24-03111
   I Fan Tien                                                     24-03112
   IAIN ALEXANDER CALDWELL                                        24-03113
   IAN DEON GROVE                                                 24-03114
   IK WHAN KIM                                                    24-03115
   IKER DE IRUETA FLORENTINO                                      24-03116
   ILO MOREIRA RIBEIRO                                            24-03117
   Impact Media Sp. z o.o.                                        24-03118
   INDX Group Limited (Acct No. 2)                                24-03119
   INGOLFSSON INGVAR KRISTINN                                     24-03120
   INIGO MUSQUIZ BEGUIRISTAIN                                     24-03121
   Inverted Group Ltd                                             24-03122
   IOANNIS NEARCHOS CHRISTOFI                                     24-03123
   ISAAC LIM YUAN ZHUN                                            24-03124
   ISAM ADEL MANSOUR                                              24-03125
   IVAN MONASTYREV                                                24-03126
   IVAN PROKHOROV                                                 24-03127
   IVAN ROGIC                                                     24-03128
   IVAR DUSERUD                                                   24-03129
   IVO SMOLAK                                                     24-03130
   JACK GOOCH                                                     24-03131
   JACKSON R SHIPSIDES                                            24-03132
   JACOB MATHEUS TE TEIRA TOHERIRI VERMUNT                        24-03133
   JAE YONG LEE                                                   24-03134
   JAMES ALAN KIRKPATRICK                                         24-03135
   JAMES ALEXANDER BUCKMAN                                        24-03136
   JAMES ALEXANDER CARTER                                         24-03137
   JAMES ALEXANDER COYLE                                          24-03138
   JAMES ANTHONY CONNOLLY                                         24-03139
   JAMES DAVID NASH                                               24-03140
   JAMES EDWARD LUMB                                              24-03141
   JAMES HUDSON                                                   24-03142
   JAMES LEE WENG KEL                                             24-03143
   JAMES M OBRIEN                                                 24-03144
   JAMES N GRAGTMANS                                              24-03145
   JAMES OLIVER ADLER WILLIAMS RAAHAUGE                           24-03146
   JAMES PETER HILL                                               24-03147
   JAMES RICHARD BOLTON                                           24-03148
   JAMES WYN JONES                                                24-03149


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   Defendant Name                                                 No.
   JAN J VINKE                                                    24-03150
   JAN-EIKE WILKEN                                                24-03151
   JANNE JUHANI OJANAHO                                           24-03152
   JARIN KAENMUANG                                                24-03153
   JARUWAT CHAIKWAMPEIN                                           24-03154
   JASON COLE MIZEN                                               24-03155
   JASON FREDERICK VISICK                                         24-03156
   JASON GERARD KERR                                              24-03157
   JASON JAMES LOW                                                24-03158
   JASON WESTON-COLLINSON                                         24-03159
   JASVINDER DHILLON                                              24-03160
   JAVIER VIA RODRIGUEZ                                           24-03161
   JEAN CHRISTOPHE TIBURCIO PEREIRA                               24-03162
   JEAN MARIE BAPTISTE HESP                                       24-03163
   JEFFREY ROBERT STANGELAND                                      24-03164
   JEI SONG                                                       24-03165
   KUNAL SAVJANI                                                  24-03166
   JENNIFER BROWN                                                 24-03167
   KWAN HONG                                                      24-03168
   KWAN LOK CHAN                                                  24-03169
   JENNIFER LYNN MCRAE                                            24-03170
   KWOK LEUNG LI                                                  24-03171
   JENS GRILLET                                                   24-03172
   LA BUCKLAND                                                    24-03173
   jeong hun kim                                                  24-03174
   LAI YING YEUNG                                                 24-03175
   LAKSHAY BEHL                                                   24-03176
   JEREMI MICHEL THIERRY GILDAS LEPETIT                           24-03177
   LANE GORDON KLAPROTH                                           24-03178
   JEREMY CEDRIC AMIOT                                            24-03179
   LARS HARALD EGIDIO SCHLICHTING                                 24-03180
   JEREMY HOUATI C BOKOBZA                                        24-03181
   LAURANIA DOMINICA COCKBURN                                     24-03182
   LAURENCE TWELVETREES                                           24-03183
   JEREMY JACOB PHILIP SAME                                       24-03184
   Lazarou Digital Ltd                                            24-03185
   JEREMY PAUL CANNON                                             24-03186
   LEE CARE GENE                                                  24-03187
   JEROEN OTT                                                     24-03188
   LEE KELVIN ERSWELL                                             24-03189
   LEE MATTHEW BRAY                                               24-03190
   JESSE BO A LEENDERS                                            24-03191


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   Defendant Name                                                 No.
   LEENDERT WILLEM BOTHA                                          24-03192
   Legendary Star Holdings Inc. Inc.                              24-03193
   LEIGH JOHN WESTERN                                             24-03194
   LEO-PAUL ANDREAS FERRUT                                        24-03195
   Li Wen Poh                                                     24-03196
   JONASZ MIARA                                                   24-03197
   LIBING ZHANG                                                   24-03198
   LUIS MIGUEL SANCHEZ URQUIZA                                    24-03199
   Lihan List                                                     24-03200
   JONATAN KARMING LO                                             24-03201
   LILIANA JANINA TABINI HAMEAU DE RUIZ DE SOMOCURCIO             24-03202
   LUIS RODRIGUEZ VIZCARRA RODRIGUEZ                              24-03203
   JONATHAN DAVID IRVING                                          24-03204
   LIM CHIN KAI                                                   24-03205
   LUKA POZARSEK                                                  24-03206
   LIPDA CHALAOVIJIT                                              24-03207
   JONATHAN DECARTERET                                            24-03208
   LIWATI FU                                                      24-03209
   LUKA PUSIC                                                     24-03210
   LIYA ZHENG                                                     24-03211
   JONATHAN GERRIT HALDANE                                        24-03212
   LUKE IAN HANSEN-HUNTER                                         24-03213
   LLOYD LAI YAN TSUI                                             24-03214
   JONATHAN JAMES CLARKE                                          24-03215
   LOREN FRANCES MCDONALD                                         24-03216
   LUKE J STRATFORD                                               24-03217
   JONATHAN KA YAN LO                                             24-03218
   LUKE JAMES TODD                                                24-03219
   JONATHAN MICHAEL DAWSON                                        24-03220
   LUM YUEN YEE                                                   24-03221
   JONATHAN PIOU                                                  24-03222
   LUNG SANG SUNNY LAM                                            24-03223
   JONATHAN SCOTT HAMWOOD                                         24-03224
   JESSIE YAN TING HUI                                            24-03225
   Lykar Investments Trust                                        24-03226
   JONATHAN VINCENT EMANUEL ROBRECHT                              24-03227
   JHONY KARAM HARRAKA                                            24-03228
   Lyncher One Limited                                            24-03229
   JOOST KNAAP                                                    24-03230
   JIM JOSEPH BRYSLAND                                            24-03231
   LOREN ROSEMARY NORTHOVER                                       24-03232
   LYUDMIL V VALTCHANOV                                           24-03233


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   LORRAINE BROOKS                                                24-03234
   JIMENEZ ANGELC WEERDEN                                         24-03235
   MACIEJ ROBERT PRZEBIERALA                                      24-03236
   LOUIE F DI MATTEO                                              24-03237
   JIMMY TEO HAN KEONG                                            24-03238
   JIN-WAI CHONG                                                  24-03239
   MADISON ROSE HARTE                                             24-03240
   LOW XIAN YANG (LIU XIANYANG)                                   24-03241
   JOANNA SUSAN PEREIRA                                           24-03242
   LUC EUGENE H HESSELS                                           24-03243
   MAIKE VOGLER                                                   24-03244
   JORDAN ALEXANDER POULTON                                       24-03245
   JOAO PEDRO DIAS MADEIRAS                                       24-03246
   LUC GUY A JACQMIN                                              24-03247
   MAKE Investments Ltd                                           24-03248
   LUCAS TULLOCH                                                  24-03249
   JORDAN STAMENOV STOEV                                          24-03250
   JOEL A OVERWATER                                               24-03251
   LUCILE BEATRICE PISTOL                                         24-03252
   MAN CHU LI                                                     24-03253
   JORDI MADRID DELTELL                                           24-03254
   JOEL CANTON                                                    24-03255
   LUDOVIC LEZZI                                                  24-03256
   MAN TIM LEE                                                    24-03257
   LUDOVIC SERGE F LUCAS                                          24-03258
   JOEL PETER FISHLOCK                                            24-03259
   JÖRG KLAUS ERLER                                               24-03260
   JOHAN TORAS HALSETH                                            24-03261
   JOSE DANIEL PARTIDA HINOJOSA                                   24-03262
   JOHANNES GISKE MINGE                                           24-03263
   LUIS ANTONIO VIELVA MARTINEZ                                   24-03264
   JOSE EMMANUEL BETANCUR                                         24-03265
   JOHN DAVID ENEVOLDSEN                                          24-03266
   LUIS MIGUEL MOURATO CARDOSO                                    24-03267
   JOSE LUIS VAREZ BENEGAS                                        24-03268
   JOHN FRIEL                                                     24-03269
   JOSE MARIA FONSECA GONZALEZ                                    24-03270
   JOSE PROIETTI SCIFONI                                          24-03271
   JOHN KAESTEL HANSEN                                            24-03272
   MAN TING CINDY LAI                                             24-03273
   JOSEF GAZDA                                                    24-03274
   KADEJ SURALERTRUNGSUN                                          24-03275


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   Defendant Name                                                 No.
   KAMIL KRZYSZTOF ORZECHOWSKI                                    24-03276
   JOHN KARL HUNSAKER                                             24-03277
   MAN YUNG CHOW                                                  24-03278
   JOSEPH GOLDLUST                                                24-03279
   KAMIL NADER                                                    24-03280
   Mangari LLC                                                    24-03281
   JOHN LEONID ECCLES                                             24-03282
   KAR FAI VICTOR LEE                                             24-03283
   JOSHUA JAMES MOREY                                             24-03284
   JOHN QUOC-VIET THANH LE                                        24-03285
   KARIM EL BARKAWI                                               24-03286
   MANISH KUMAR                                                   24-03287
   JOSHUA JON BINGHAM                                             24-03288
   JOHN ROBERT BECKER                                             24-03289
   KARL MARTIN WICKBERG                                           24-03290
   MANUEL HAUSEDER                                                24-03291
   JOSHUA JULIUS ANDERSON                                         24-03292
   KARU CHONGSIRIPINYO                                            24-03293
   MANUELE MOLISSO                                                24-03294
   JOSHUA MICHAEL ANDERSON                                        24-03295
   Kehui Liu                                                      24-03296
   JOHN WESTELL                                                   24-03297
   KEI KEI CHONG                                                  24-03298
   JOSHUA TAN KENG WAH                                            24-03299
   JOLYON C BURFORD                                               24-03300
   KEITH HOWARD MASON                                             24-03301
   JOWITA MARIA CHOSCILOWICZ                                      24-03302
   KELLY LEIGH HOWES                                              24-03303
   JONAS MERTENS                                                  24-03304
   JOYCE NINA BAUTISTA                                            24-03305
   KENNETH ANTONIO RAKIM                                          24-03306
   JUAN CARLOS BAUZA OGAZON                                       24-03307
   KENNETH IVOR CRAWFORD                                          24-03308
   JUAN IGNACIO FERRO PAZOS                                       24-03309
   MARC EDMOND R LENOBLE                                          24-03310
   MARCEL ADRIAAN SOMMELING                                       24-03311
   JUAN PABLO CURA                                                24-03312
   MARCO ELLENA                                                   24-03313
   KENNY HUYNH                                                    24-03314
   KENT CHOL                                                      24-03315
   MARCO MIRABELLA                                                24-03316
   JULIAN RICHARD KILBURN                                         24-03317


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   Defendant Name                                                 No.
   MARCUS JACK CENT                                               24-03318
   KEONHO KANG                                                    24-03319
   MARIA ANDREE MAEGLI QUEZADA                                    24-03320
   KERK WEI YANG                                                  24-03321
   KEVIN AUGUST M GEERTS                                          24-03322
   MARIA ELISABETE NEVES MENDES                                   24-03323
   MARIA ENCARNACION DIEGO GORDON                                 24-03324
   KEVIN DAVID BRÜCK                                              24-03325
   KEVIN GREEN                                                    24-03326
   MARIA GAIL FERNANDES                                           24-03327
   KEVIN JAEHOON JEONG                                            24-03328
   JULIEN CLAUDE YVES PHILIPPE DUTEURTRE                          24-03329
   MARIA S LI                                                     24-03330
   JULIEN ROBERT LEMAIRE                                          24-03331
   KEVIN NEAL DICK                                                24-03332
   MARIANA SUSAN SARCEVIC                                         24-03333
   KEVIN SUNJAY SANDU                                             24-03334
   JULIUS HUDEC                                                   24-03335
   MARIJAN SIMEK                                                  24-03336
   KI KON CHO                                                     24-03337
   MARIUS COMANITA                                                24-03338
   JUN YI HO                                                      24-03339
   KIEN Y KWAN                                                    24-03340
   KIM DEBORAH BOURQUIN                                           24-03341
   MARK ANGELO CABACUNGAN MIGUEL                                  24-03342
   JUNG WON SHIN                                                  24-03343
   KIM JOHN CEBRECUS                                              24-03344
   MARK BERGER                                                    24-03345
   JURE SUTAR                                                     24-03346
   KIN MAN FAN                                                    24-03347
   JUSTAS PIKELIS                                                 24-03348
   MARK C BAKKER                                                  24-03349
   KIN PING CHUNG                                                 24-03350
   JUSTIN DALE NEUDORF                                            24-03351
   KING CHUNG LAM                                                 24-03352
   MARK FRANCIS WELTON                                            24-03353
   KING HON JUSTIN LIU                                            24-03354
   Justkeding GmbH                                                24-03355
   MARK KUMAR BOSE                                                24-03356
   KJELL HAUSKEN                                                  24-03357
   JUSTUS SPENGLER                                                24-03358
   MARK PHILIPP MERKLE                                            24-03359


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   Defendant Name                                                 No.
   JUTHAMARD SERAFETINIDIS                                        24-03360
   KKTD Management Limited                                        24-03361
   MARK POTTER                                                    24-03362
   KA CHUN WONG                                                   24-03363
   KKTD Management Limited Sub-1                                  24-03364
   KA HOW BENJAMIN LO                                             24-03365
   KA LONG AU                                                     24-03366
   KA MAN AU                                                      24-03367
   KLAUS GIOVANY VENTO                                            24-03368
   KLAUS HELMUT HECKER                                            24-03369
   KOBE JORDAN ZHOU                                               24-03370
   KONG KOK KUAN (GONG GUOQUAN)                                   24-03371
   KONRAD MUNGENAST                                               24-03372
   KONRAD PIETRZAK                                                24-03373
   KONSTANTIN KLYAGIN                                             24-03374
   KONSTANTINOS KARASAVVAS                                        24-03375
   KRISTIAN ANDRE JANGER                                          24-03376
   KRISTIAN HANSEN                                                24-03377
   KRISTIE L DUTT                                                 24-03378
   KTD Management Limited Sub-2                                   24-03379
   KUNAL ANGUT R PATEL                                            24-03380
   DAMIEN ALBERT MURPHY                                           24-03381
   LEE HING YUN, EDWARD                                           24-03382
   LEONG WENG YEW, CLARENCE                                       24-03383
   LIM SHU-JIN, LENNY                                             24-03384
   LIM TECK MENG JOSHUA                                           24-03385
   LO KAR KEONG DARRYL                                            24-03386
   MARK S COSTA                                                   24-03388
   MARK TETHER                                                    24-03389
   MARTIN ARTHUR NAYLOR                                           24-03390
   MARTIN CESAR                                                   24-03391
   MARTIN JOSEF WEBER                                             24-03392
   MARTIN LEHOCKY                                                 24-03393
   MARTIN THOMAS SCHAERER                                         24-03394
   MASSIMILIANO GARATTONI                                         24-03395
   MATEUSZ RANT                                                   24-03396
   MATIAS ALEJO GARCIA                                            24-03397
   MATTEO NICCO                                                   24-03398
   MATTHEW D HUGHES                                               24-03399
   MATTHEW DANIEL LAKE                                            24-03400
   MATTHEW GALEN BOYES                                            24-03401
   MATTHEW HUNTER WINN                                            24-03402


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   Defendant Name                                                 No.
   MATTHIAS BERT MORTIER                                          24-03403
   MATTHIAS HELMUTH DI CFH TRAMNITZ                               24-03404
   MATTHIEU DAVID LE BLAN                                         24-03405
   MATTHIEU JEAN ALEXANDRE GOURJON                                24-03406
   MAURIZIO DALCO                                                 24-03407
   MAURO MANGIATERRA                                              24-03408
   MAX JAMES GILBERT HUNT                                         24-03409
   MAX MUNTE                                                      24-03410
   MAXIM JAMAR                                                    24-03411
   MAXIME BERNARD PAUL                                            24-03412
   MAXIME CHARLES STEKELOROM                                      24-03413
   MAXIME FREDERIC PIERRE CHIGOT                                  24-03414
   MAXIMILIAN CLAUS RUDOLF NOEL GROTH                             24-03415
   MAXIMILIAN STRYKER                                             24-03416
   MEHMET CAN KORUYAN                                             24-03417
   MFox Trading AG                                                24-03418
   MICHAEL ALEXANDER BROM                                         24-03419
   MICHAEL ANDREW FIELDING                                        24-03420
   MICHAEL DAVID BEER                                             24-03421
   MICHAEL EDWARD CAMPBELL                                        24-03422
   MICHAEL ENCARNACION                                            24-03423
   MICHAEL HERRERO SANCHEZ                                        24-03424
   MICHAEL JAMES HARRIS                                           24-03425
   MICHAEL JAMES MCLEISH                                          24-03426
   MICHAEL JON SEXTON                                             24-03427
   MICHAEL KEITH SCHEMBRI                                         24-03428
   MICHAEL KUEHNE                                                 24-03429
   MICHAEL NIKLAUS WEBER                                          24-03430
   MICHAEL TJAHJA SUSANTO                                         24-03431
   MICHAEL TRAN                                                   24-03432
   MICHAL KRZYSZTOF NOWAK                                         24-03433
   MICHAL KUSAK                                                   24-03434
   MICHAL MIROSLAW BAK                                            24-03435
   MICHAL TABORSKY                                                24-03436
   MICHEL BERNARD FOLLONIER                                       24-03437
   MICHEL MANARAS                                                 24-03438
   MICHIEL JOANNUS HOUBEN                                         24-03439
   MIGUEL INZA RODRIGUEZ                                          24-03440
   MIHA VIDMAR                                                    24-03441
   MIHAIL LUCIAN TODEA                                            24-03442
   MIKHAIL TRETIAKOV                                              24-03443
   MIKK MAAL                                                      24-03444


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   Defendant Name                                                 No.
   MILAN DUGOVIC                                                  24-03445
   min young lee                                                  24-03446
   MINA NEMATI                                                    24-03447
   Minhyeok Cho                                                   24-03448
   MISCHA BENNETT                                                 24-03449
   MITUL ASHOKBHAI PATEL                                          24-03450
   MOH HUI SIM                                                    24-03451
   Mohamed Ali Mohamed Naser Baslaib                              24-03452
   MOHAMED FYAZ JAMAL MOHAMED MOHAMED YOOSOOF                     24-03453
   MOHAMMED MAZHER HUSSAIN                                        24-03454
   MOHAMMED NASSER M ALAJMI                                       24-03455
   MORITZ KAMINSKI                                                24-03456
   MORRIS NUTA                                                    24-03457
   MOUCHEG MOURADIAN                                              24-03458
   MUHAMMAD ALI BABAR                                             24-03459
   MUHAMMET KANTUROVSKI                                           24-03460
   MUN TAK NG                                                     24-03461
   MURAT MAHMUT TATLISU                                           24-03462
   MUSTAFA CAN TULGA                                              24-03463
   MYLES DUNPHY                                                   24-03464
   NABIL MOHAMMED Y SAYFAYN                                       24-03465
   NADIM KARAM                                                    24-03466
   NADIR ALI MUSA OMAR                                            24-03467
   NAHUEL PABLO ZURITA TURK                                       24-03468
   NALIN BAHUGUNA                                                 24-03469
   NGOC PHU BUI                                                   24-03470
   NATHAN LUKE DEWAR                                              24-03471
   NHA T NGUYEN                                                   24-03472
   NATHANIEL TRISTIM HODGES                                       24-03473
   NICHOLAS ASHTON COLLINS                                        24-03474
   NECULAI-CRISTIAN ZADEA                                         24-03475
   NICHOLAS CHARLES POLLOCK                                       24-03476
   NICHOLAS RODRIGUES                                             24-03477
   NICK DE BACKER                                                 24-03478
   NICO SJAARDEMA                                                 24-03479
   SAKARI TAPIO PERTTUNEN                                         24-03480
   NICOLAS AARON GREGORY                                          24-03481
   NICOLAS DUMAIS                                                 24-03482
   SAMIA HASAN                                                    24-03483
   SAMIER SAAD ALSHUKRI                                           24-03484
   NIGEL FRANK SURGENOR                                           24-03485
   NIGEL JOHN ANTHONY GREGORY                                     24-03486


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   Defendant Name                                                 No.
   SAMUEL ALEXANDER KEATS                                         24-03487
   Nigen nv                                                       24-03488
   NIKHIL KUNDER                                                  24-03489
   SAMUEL ARTEMIO RAMOS BATISTA                                   24-03490
   NIKLAS LARS MARKUS SJOSTEN                                     24-03491
   NIMON BHAGWAN KHEMLANI                                         24-03492
   NEIL ANTHONY DUNDON                                            24-03493
   NITIN CHAUHAN                                                  24-03494
   SAMUEL OPEDAL NIXON                                            24-03495
   NEW VISION GLOBAL PRIME FUND SPC- YIELD ENHANCEMENT
   SP I                                                           24-03496
   NOUSHIN SHAYANFAR                                              24-03497
   NGA SZE LAU                                                    24-03498
   SAMUEL SIMON                                                   24-03499
   OCTAVE CHARLES ELIOT ANTOINE GDERVIEU                          24-03500
   NGAI HO LAU                                                    24-03501
   Odum Group Ltd                                                 24-03502
   SAN CHI CHAO                                                   24-03503
   NGAI LAU                                                       24-03504
   OKKY YUDHISTA ASMARANY                                         24-03505
   OLIVER ANDREW FILIPE                                           24-03506
   SANDRO BEELER                                                  24-03507
   OLIVER BOESCH                                                  24-03508
   OLIVER EMERY LESTER                                            24-03509
   SANDRO EMMANUEL GAUCH                                          24-03510
   OLIVER SCOTT MARGERISON                                        24-03511
   SANJAY FRANCIS GEORGE                                          24-03512
   OLIVER WIGGER                                                  24-03513
   OLIVIA HILARY ARLENE PEEL                                      24-03514
   SANJAY JAYANTIBHAI PATEL                                       24-03515
   OLIVIER CHRISTOPHE SCHAFROTH                                   24-03516
   SANNE INGER CASPERSEN                                          24-03517
   OMAR MAHMOUD HANY MOHAMED KAMEL AL-SOBKY                       24-03518
   SANTIAGO HORACIO ANDRIGO                                       24-03519
   OMAR SHEIKH                                                    24-03520
   OMAR ZUHAIR O ALDUHAIBY                                        24-03521
   SANTIAGO VELASCO NAZARETT                                      24-03522
   QIUMING ZHANG                                                  24-03523
   R ACKERMANN                                                    24-03524
   RACHAEL HAYWOOD SHARP                                          24-03525
   RACHID LACHAAL                                                 24-03526
   RADOSLAW ROSIAK                                                24-03527
   OMER KAYA                                                      24-03528

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   Defendant Name                                                 No.
   RAFAL KULCZYNSKI                                               24-03529
   ON YAVIN                                                       24-03530
   OSBORNE I NORONHA                                              24-03531
   RAHMAN BIN YALLEE                                              24-03532
   OWEN NORMAN SPRING- BENYON                                     24-03533
   PABLO ANDRES TARULLI                                           24-03534
   RAJA RAHEEL ACKRIM                                             24-03535
   PANIQUE BLAD                                                   24-03536
   RAJPAL SINGH                                                   24-03537
   PAO CHIN GERRY NEI                                             24-03538
   RAMESH REDDY HANUMANTH GARI                                    24-03539
   PASCAL DOMINIC DIENER                                          24-03540
   RASUL NIYAZIMBETOV                                             24-03541
   RAUL LEANDRO MARTINEZ MORI                                     24-03542
   PASCAL JOEL KELLENBERGER                                       24-03543
   RAVINDER KAUR MANN                                             24-03544
   RAYMOND WONG                                                   24-03545
   PAUL ANTHONY CLARKE                                            24-03546
   REECE ANTHONY SMITH                                            24-03547
   PATATRAT PANYAVUDHIKRAI                                        24-03548
   REID KEN MATSUMOTO                                             24-03549
   PATRICE ALBERT EUGENE MASSON                                   24-03550
   REINHARD BERGER                                                24-03551
   PATRICK DESMOND FREDERICK LEWIS                                24-03552
   RHETT WILLIAM PRIDGEON                                         24-03553
   RICARDO ANTONIO GUTIERREZ                                      24-03554
   RICARDO MAXIMO SINT JAGO                                       24-03555
   PAUL B MCKENZIE                                                24-03556
   RICHARD ARTHUR COLE                                            24-03557
   PAUL CORTEZ SUAREZ                                             24-03558
   RICHARD IAN JAMES BURKE                                        24-03559
   RICHARD JAMES COONEY                                           24-03560
   PAUL F ROGASH                                                  24-03561
   SARAH ANNE SOMERVILLE                                          24-03562
   RICHARD JAMES TELFORD                                          24-03563
   PAUL GERHARD CHRISTENSEN                                       24-03564
   SARUNAS LEGECKAS                                               24-03565
   RICHARD JOHN MURPHY                                            24-03566
   PAUL JEAN ARTHUR DELAWARDE                                     24-03567
   PAUL PERCA                                                     24-03568
   SCOTT DONALD ROSS SERWA                                        24-03569
   PAUL SETH                                                      24-03570


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   Defendant Name                                                 No.
   SEAN ANACLETO DSOUZA                                           24-03571
   PAULO ALBERTO CRESTANI                                         24-03572
   PAVEL CERSAC                                                   24-03573
   SEBASTIAN EZRA PAPASIN DAHLBERG                                24-03574
   PAVEL VLADIMIROVICH ZORIN                                      24-03575
   Seo Jeong Moon                                                 24-03576
   PAWEL JAN TOMCZYK                                              24-03577
   seojun moon                                                    24-03578
   PAWEL ROSOWSKI                                                 24-03579
   PAWEL URBANOWICZ                                               24-03580
   SERBAN LUPU                                                    24-03581
   PEARL HELEN S PILLAERT                                         24-03582
   SEREE THONGKAMTANG                                             24-03583
   PEK KUAN CHON                                                  24-03584
   SERGEY SUDAKOV                                                 24-03585
   PEKKA OLAVI SAARINEN                                           24-03586
   PEKKA OSKARI SILTANEN                                          24-03587
   SERGIO SOTELO SORT DE SANZ                                     24-03588
   PETER BALCAREK                                                 24-03589
   SEUNG BEOM KIM                                                 24-03590
   PETER DANIEL HOLTSJOE                                          24-03591
   SEUNG GI LEE                                                   24-03592
   PETER DELROY WILLIAMSON                                        24-03593
   SEUNGHWAN KIM                                                  24-03594
   PETER JAMES MCCARTHY                                           24-03595
   SEYED ANOUSHIRWAN NICHOLAS LAGEVARDI                           24-03596
   PETER JOHN ELSTON CHINNECK                                     24-03597
   PETER JUNHO KIM                                                24-03598
   SHAMIM ANWAR                                                   24-03599
   PHILIP KULJIT SINGH                                            24-03600
   SHANE COLLIN ERICKSON                                          24-03601
   PHILIPP HARTKÄMPER                                             24-03602
   SHANG QIAN HUANG                                               24-03603
   PHILIPP WEISSBACH                                              24-03604
   SHARIF SEBASTIAN ELAWNY                                        24-03605
   PHILIPPE BOURDEAU                                              24-03606
   SHASHANK KAPOOR                                                24-03607
   PHONG HOA CHUONG                                               24-03608
   PHUONG THAO LE THI                                             24-03609
   SHAWN ROBERT MOSS                                              24-03610
   PIERRE HENRY GILBERT JEAN LANGRENAY                            24-03611
   SHEARER ROBERT FRANKLIN                                        24-03612


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   Defendant Name                                                 No.
   SHENG JE LIN                                                   24-03613
   PIETERJAN VANHOOF                                              24-03614
   PING SAN CHAN                                                  24-03615
   Pingao Wang                                                    24-03616
   PIOTR PLEWA                                                    24-03617
   PIOTR WOJEWNIK                                                 24-03618
   RICHARD LIONEL BRUCE PRESCOTT                                  24-03619
   PIRATH YENSUDJAI                                               24-03620
   RICHARD TERENCE BALL                                           24-03621
   Shaun Potts                                                    24-03622
   RIENTS LUITZEN KOOISTRA                                        24-03623
   POT MU WONG                                                    24-03624
   RIYAZ ABDULLA                                                  24-03625
   PRIMOZ TRAMPUS                                                 24-03626
   ROBERT A BALICKI                                               24-03627
   SHERI CHAN                                                     24-03628
   PUGALIA GAURAV                                                 24-03629
   ROBERT ALLISON                                                 24-03630
   SIDDHARTH LALIT GULRAJANI                                      24-03631
   ROBERT BOOY                                                    24-03632
   QING C J ZENG                                                  24-03633
   SIDDHARTHYA ROY                                                24-03634
   ROBERT E KREUGEL                                               24-03635
   QIONG ZHANG                                                    24-03636
   ROBERT GROEN                                                   24-03637
   SIGURD KIRKEBY KVERNMOEN                                       24-03638
   SILVIU TIRNOVEANU                                              24-03639
   ROBERT LEE RALPH                                               24-03640
   SIM CHIN SOONG                                                 24-03641
   ROBERTO DIEGO EZQUERRO CATALA                                  24-03642
   SIMEN PLATOU                                                   24-03643
   ROBERTO JAVIER SEGURA                                          24-03644
   SIMON ARON MITCHELL                                            24-03645
   ROBYN BERNICE NEWBERRY                                         24-03646
   ROCCO MUSOLINO                                                 24-03647
   ROCIO BARCELO                                                  24-03648
   ROMAN CAMENZIND                                                24-03649
   ROMERO CARABALLO ELIEZER JOSE                                  24-03650
   RONALD BAUTISTA                                                24-03651
   Rooware Trading Pty Ltd                                        24-03652
   ROSS WOOLF                                                     24-03653
   SACHIN PATEL                                                   24-03654


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   Defendant Name                                                 No.
   ROBERT JR CABRAL LIM                                           24-03655
   LINK ZOOTOPIA PTY LTD as trustee for the ALPHA TSEN FAMILY
   TRUST                                                          24-03656
   KEI YEUNG YEUNG                                                24-03657
   PAVEL GRACHEV                                                  24-03658
   JESSE RICHARD HANSON                                           24-03659
   CRUZ LILJEGREN                                                 24-03660
   MICHELLE CLAUDE ANNE JANIN BERTHOD                             24-03661
   NEAL S MORTENSEN                                               24-03662
   NG TIAN WEI, CHRISTOPHER                                       24-03663
   JAKE R BOYLE                                                   24-03664
   JAIME APREDA                                                   24-03665
   SIAVASH MOHAJER VA PESARAN                                     24-03666
   WAI YIN LIU                                                    24-03668
   WALID BOU ANTOUN                                               24-03669
   WAN KAR WENG                                                   24-03670
   WEI LUN LIN                                                    24-03671
   WEI SHAO LEE                                                   24-03672
   Wei Sheng Ang                                                  24-03673
   WENDY CLARK                                                    24-03674
   WHEE LIM CHIN                                                  24-03675
   WILHELM BRUNO G DETRY                                          24-03676
   WILLIAM ALEXANDER EL BARKAWI                                   24-03677
   WILLIAM MICHAEL AUSTIN                                         24-03678
   WILLIAM TERRY LANE                                             24-03679
   WILLIAM WRIGHT RUSSELL                                         24-03680
   Wilson Lek                                                     24-03681
   WING FAI LEUNG                                                 24-03682
   WING KIN WONG                                                  24-03683
   WING YUEN JUDY LAM                                             24-03684
   YUK YING CHAN                                                  24-03685
   YUN YUN MICHELLE NG                                            24-03686
   WOJCIECH JACEK SKABA                                           24-03687
   YUNG CHIN                                                      24-03688
   WONG HONG LIANG NICOL                                          24-03689
   YUTTADEJ JERDJUMRASKUL                                         24-03690
   WOOLF SUPERANNUATION FUND                                      24-03691
   YVAN YAOVI NUWORZEN                                            24-03692
   YVES DANIEL DISERENS                                           24-03693
   WU JIWEI                                                       24-03694
   Z6 s.r.o.                                                      24-03695
   XI WEN TAN                                                     24-03696
   ZAIDOON MOHAMED HUSSEIN MOHAMED ABDELHADI                      24-03697

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   Defendant Name                                                 No.
   XIHANG DAI                                                     24-03698
   Zerocap Ltd                                                    24-03699
   ZHENG YOUZHI                                                   24-03700
   XIN ZHAO                                                       24-03701
   ZHENG ZHI HUI                                                  24-03702
   XINSHUN PANG                                                   24-03703
   ZHIBO FAN                                                      24-03704
   XU XU                                                          24-03705
   ZHONGKE CHEN                                                   24-03706
   ZIJUN HU                                                       24-03707
   XUFEI BAI                                                      24-03708
   Zipmex Asia Pte Ltd.                                           24-03709
   ZIYAD TARIK CHECHAN                                            24-03710
   YA LING LIANG                                                  24-03711
   YANI BURMEISTER                                                24-03712
   YANYAN LU                                                      24-03713
   YAT HANG YU                                                    24-03714
   YAUHENI YAZVINSKI                                              24-03715
   YAZAN JERIES HANNA MDANAT                                      24-03716
   YE WANG                                                        24-03717
   YING DU                                                        24-03718
   YING WAH LUK                                                   24-03719
   YITAO ZHANG                                                    24-03720
   YOLANDA NEWPORT MARTINEZ                                       24-03721
   YOSSEF ELUZ                                                    24-03722
   YOUNGKEUN SONG                                                 24-03723
   YOUYAN WANG                                                    24-03724
   YU HAN SHEN                                                    24-03725
   YU KIT CHAN                                                    24-03726
   YU PO TSE                                                      24-03727
   YU TE LIN                                                      24-03728
   YU ZHU                                                         24-03729
   YUE QI                                                         24-03730
   YUEN FOH WONG                                                  24-03731
   YUK KA OR                                                      24-03732
   Zhiyue Liu (志越 劉)                                              24-03733
   Profluent Trading Inc. Inc                                     24-03735
   YEOW JIA QI (YAO JIAQI)                                        24-03736
   Chong Neng Tan                                                 24-03737
   AARON CHEN                                                     24-03742
   Aaron Joseph McClure                                           24-03743
   Adam James Weigold                                             24-03744


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   Defendant Name                                                 No.
   ADRIAN AUGUS RISH                                              24-03745
   ADRIAN CHARL JONES                                             24-03746
   ALBERT EATON SHAW                                              24-03747
   Alexander Chernyshev                                           24-03748
   ALEXANDER DMITRY VYSHETSKY                                     24-03749
   Ali Abrahimia                                                  24-03750
   ALLEN Y CHEN                                                   24-03751
   CHRIS BYRON CAMPBELL                                           24-03752
   CHRISTOPHER HAMMOND JARECKI                                    24-03753
   CHRISTOPHER JAMES ROGERS                                       24-03754
   Cory Linthicum Bryan                                           24-03755
   BRIAN DOUGLAS LANGSBARD                                        24-03756
   Brian Paul Nix                                                 24-03757
   Brian T. Slater Revocable Living Trust                         24-03758
   BRUCE HAE UNG PARK                                             24-03759
   BRYAN FREDERICK JOHNSON                                        24-03760
   CARLO RADIN PASQUALI                                           24-03761
   CARY DOYCE TAYLOR                                              24-03762
   CATHERINE MORTON DENTON                                        24-03763
   CHANON ATMA SINGH                                              24-03764
   ROBERT E RICKETT                                               24-03765
   Robert Edward Burnham                                          24-03766
   ROBERT PAUL TAYLOR II                                          24-03767
   ROBERT RAZVAN REDFORD                                          24-03768
   RODRIGO RUBEN SANTIAGONIEVES                                   24-03769
   RONALD TIMOTHY LYNG                                            24-03770
   RUBEN ALEXANDER GIOSA                                          24-03771
   Ryan Franklin Farr                                             24-03772
   SAJEEVE ABRAHAM MATHEW                                         24-03773
   SAMSON KHAMO PIUS                                              24-03774
   SAUL D GARCIA SANTIAGO                                         24-03775
   SCOTT DAVID JOHNSON                                            24-03776
   Scott M Eby                                                    24-03777
   Sebastian James Ciancio                                        24-03778
   SEFTON MC CARTY KINCAID                                        24-03779
   SHANE CHRISTIAN OWENS                                          24-03780
   SHANE DALE WILSON                                              24-03781
   SHARAM DANESH                                                  24-03782
   SHILPA KAMALA SUGUNA GOLLAPUDI                                 24-03783
   SIMON G MOBBS                                                  24-03784
   Sizhong Zhang                                                  24-03785
   STEPHEN GEORGE FITZMAIER                                       24-03786


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   Defendant Name                                                 No.
   STEVEN CRAIG NAMM                                              24-03787
   STEVEN F MONTEMARANO                                           24-03788
   STEVEN P ABRAMOW                                               24-03789
   Craig Allyn Parkin                                             24-03790
   Suk Hwan Ou                                                    24-03791
   SUMMER CLAIR VAN DER WESTHUYZEN                                24-03792
   CRAIG ROBERT CAVIEZEL                                          24-03793
   SUNDEEP RAJU GOKARAJU                                          24-03794
   Tarik Jamil Thami                                              24-03795
   DANIEL ANDREW DYNAK                                            24-03796
   Terence C Coppola                                              24-03797
   Thaddeus Aaron Gala                                            24-03798
   The Ly Family Trust                                            24-03799
   Daniel Toshio Kato                                             24-03800
   THOMAS EDWARD ROARK                                            24-03801
   DANYLO S RAKOWSKY                                              24-03802
   THOMAS FONDA THASITES                                          24-03803
   THOMAS M KNIGHTLY                                              24-03804
   Dave Kumar Malhotra                                            24-03805
   Thomas Vyhonsky                                                24-03806
   David Bruce Kane                                               24-03807
   Thomas William Byrne                                           24-03808
   DAVID MILO HOUSE                                               24-03809
   TREVOR SCOTT BARNES                                            24-03810
   David Reed                                                     24-03811
   Dawn J Benson                                                  24-03812
   DAYRON DANIEL ARTOLA                                           24-03813
   Ubik Group Inc                                                 24-03814
   VANESSA MAGNANINI GUZZI                                        24-03815
   VOU QUIEN LUY                                                  24-03816
   WADE AARON TAPSFIELD                                           24-03817
   Weave Markets LP                                               24-03818
   Western Explorer LLC                                           24-03819
   WILLIAM CHARLES SAUNDERS                                       24-03820
   WILLIAM GEORGE KUTE                                            24-03821
   DEREK ROBERT JACOBY                                            24-03822
   WILLIAM HUEBNER MILNE                                          24-03823
   DERRICK TANNER JOHNSON                                         24-03824
   XUE WEN HUANG                                                  24-03825
   ZSUZSANNA NICOLE HARRISON                                      24-03826
   Doyle Ray McMahan                                              24-03827
   EDEN PIERS KIDNER                                              24-03828


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   Defendant Name                                                 No.
   EDUARDO MAXIMO REYES                                           24-03829
   EDWARD E LEWIS                                                 24-03830
   AMELIA K KING                                                  24-03831
   Edward Stolyar                                                 24-03832
   Amir Jad Naser                                                 24-03833
   Amir Roy                                                       24-03834
   Edward William Champigny                                       24-03835
   Elias Antoine Farhat                                           24-03836
   Eric Alan Burkgren                                             24-03837
   ERIC P SUGAR                                                   24-03838
   RYAN CHRISTOPHER TANCREDI                                      24-03839
   ESTHER JIEUN HWANG                                             24-03840
   EVAN MEREDITH SIMPSON                                          24-03841
   Faisal M Quadri                                                24-03842
   Frio LLC                                                       24-03843
   GABRIEL PAUL LIPSON                                            24-03844
   Genesis Crypto LLC                                             24-03845
   GERALD JAMES SANTIAGO                                          24-03846
   Gerrad William Brigham                                         24-03847
   GLEN BRIAN SLATER                                              24-03848
   Grand Oganesyan                                                24-03849
   Haluk Konuk                                                    24-03850
   Hayden Randall Poe                                             24-03851
   HIrvine III Fund LLC                                           24-03852
   HUIJUN ZHANG                                                   24-03853
   Ilan L Shemtov                                                 24-03854
   ILYAS MOHAMED IYOOB                                            24-03855
   JACOB MATHEW SETZER                                            24-03856
   Jacob Wouden                                                   24-03857
   James Brendan McKenna                                          24-03858
   Andrew Conard Ruszkay                                          24-03860
   Andrew Rosca                                                   24-03861
   AUSTIN DONALD STRATTON                                         24-03862
   ANDREW SCOTT VIGNEAULT                                         24-03863
   Archimedes Solutions Inc                                       24-03864
   ARIEL Basch                                                    24-03865
   Barry Joseph Waack                                             24-03866
   Arun Gupta                                                     24-03867
   ASHRAF ELSHAFEI                                                24-03868
   Barton Kwan                                                    24-03869
   JAMES DANIEL JOHANTGEN                                         24-03870
   BENGI MASTROPIERI                                              24-03871


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   Defendant Name                                                 No.
   James Henry Fuller                                             24-03872
   BENJAMIN RICHARD ARROYO PUZON                                  24-03873
   JAMES MICHAEL GLASSCOCK                                        24-03874
   JAMES RUSSELL CERVIN                                           24-03875
   James Sullivan                                                 24-03876
   Jamie Patrick Maccoll Lillywhite                               24-03877
   Jarama LLC                                                     24-03878
   Bountiful Springs Investments LLC                              24-03879
   BRAD JOSHUA RODRIGUEZ                                          24-03880
   Bradley Joseph Becker                                          24-03881
   Brandon Williams                                               24-03882
   JASON ALBERT ACEVEDO                                           24-03883
   Brayton Robert Shirley                                         24-03884
   JASON MICHAEL CULBERTSON                                       24-03885
   JEFF RANCILIO                                                  24-03886
   MANUEL JOSE GILDELREAL                                         24-03887
   Marcus Alexander Lara                                          24-03888
   JEFFERY HOWARD GIBSON                                          24-03889
   MATEO ANTHONY LEVY                                             24-03890
   Matthew Frost Soulier                                          24-03891
   Matthew Jonathan Conner                                        24-03892
   Matthew Nielson Dorrington                                     24-03893
   MATTHEW RICHARD COBUZIO                                        24-03894
   MATTHEW ROBERT ANDERSON                                        24-03895
   MATTHEW STEPHEN STEINER                                        24-03896
   MICHAEL ANTHONY RINALDI                                        24-03897
   Michael C Murray                                               24-03898
   MICHAEL DEAN RIEMAN                                            24-03899
   MICHAEL JEN SHUNG WANG                                         24-03900
   Michael John Schaffer                                          24-03901
   MICHAEL JOSEPH MC LAUGHLIN                                     24-03902
   MICHAEL MERRITT MCCLOY                                         24-03903
   MICHAEL ROBERT WITTMEYER                                       24-03904
   MICHAEL W REDER                                                24-03905
   MICHAEL WARREN REILLEY                                         24-03906
   Michelle Garber                                                24-03907
   Mike Boudet                                                    24-03908
   Missak Michael Sarkissian                                      24-03909
   MITCHELL THOR GUDMUNDSSON                                      24-03910
   Molly Spendthrift Trust                                        24-03911
   Monika Kosa                                                    24-03912
   NATHAN PAUL BATTAN                                             24-03913


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   Defendant Name                                                   No.
   New Hope Legacy Trust                                            24-03914
   NGON DONG DAO                                                    24-03915
   JENNIFER DAISY SHAR                                              24-03916
   Jens Kahler                                                      24-03917
   JESSE ROBERT SMITH-GILLESPIE                                     24-03918
   JESSE THOMAS CUEVAS                                              24-03919
   JOHN ALFRED BONIN                                                24-03920
   JOHN BRENT COOLEY                                                24-03921
   John Charles Ankeney                                             24-03922
   JOHN MATNEY GORNALL                                              24-03923
   Jonathan James Miller                                            24-03924
   Jonathon Robert Prendergast                                      24-03925
   Jordan Alexander Bonilla                                         24-03926
   JOSEPH ANDREW FLEMING                                            24-03927
   JOSEPH BERNELL GEORGE                                            24-03928
   Joseph Bryant Mazza                                              24-03929
   JOSEPH FRANCIS HUIBSCH                                           24-03930
   JOSHUA LEE JOLLEY                                                24-03931
   JOSUE FIGUEROA                                                   24-03932
   JUAN CRUZ CACERES                                                24-03933
   JUN LIANG CHEN                                                   24-03934
   Jun Seob Shin                                                    24-03935
   JUSTIN TRAVIS WONG                                               24-03936
   KATHERINE H ZHANG                                                24-03937
   KEITH ALEXANDER GALLEN                                           24-03938
   KENNETH MICHAEL ZERVOS                                           24-03939
   Kenneth Nguyen                                                   24-03940
   Kenneth P Gibson                                                 24-03941
   Kent Aaron Kildea                                                24-03942
   KEVIN DEAN CHANG                                                 24-03943
   KEVIN NEIL WOLFE                                                 24-03944
   KHANH DUY NGUYEN                                                 24-03945
   KHANH LE PHAM                                                    24-03946
   Nolan Robert Wells                                               24-03947
   kirk tsai                                                        24-03948
   On Chun Ching                                                    24-03949
   KURT AUGUST WITZKE                                               24-03950
   Osamu Manabe                                                     24-03951
   Kyle Thomas Meinhold                                             24-03952
   PATRICK WARREN REILLEY                                           24-03953
   Lam Family Trust dated July 1, 2021                              24-03954
   LEWIS ROBERT HOLMES                                              24-03955


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   Defendant Name                                                 No.
   PAUL BRIAN NELSON                                              24-03956
   LINA P CARO                                                    24-03957
   PAUL DARNELL MCNEAL                                            24-03958
   LORI MICHELLE MATOESIAN                                        24-03959
   PAUL HOWARD RITTER                                             24-03960
   Paul Michael Sevanich                                          24-03961
   Peter Mijatovich                                               24-03962
   PHILLIP LOUIS BEADLE                                           24-03963
   Pornenila Shannon Liemthongsamout                              24-03964
   Rachel Amar                                                    24-03965
   Rachel Erica Andrew                                            24-03966
   RACHEL LYNN VRIEZEMA                                           24-03967
   RADAMES RODRIGUEZ                                              24-03968
   RAMON ENRIQUE DAVILA                                           24-03969
   RAUL CHAVEZ                                                    24-03970
   REA ELIZABETH CRUZ ABANIEL TAYLOR                              24-03971
   Rebecca Wilson                                                 24-03972
   RICARDO DE JESUS BEAS                                          24-03973
   ROBERT ALEJANDRO MEARNS                                        24-03974
   ROBERT COLBY PARRO                                             24-03975
   AMELIA ALVAREZ                                                 24-03977
   DARREN ALLEN WEST                                              24-03979
   ALAN GEOFFREY COLLER                                           24-03980
   Druk Holding & Investments Limited                             24-03982
   ROHIT MADAN HARJANI                                            24-03983
   ORAWAN LIMNALONG                                               24-03984
   Onchain Custodian Pte Ltd                                      24-03985
   MATTHIAS JOSSELIN LOPEZ                                        24-04007




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